     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 1 of 138




                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

BBAM Aircraft Management LP and         Case No. 3:20-cv-01056-VLB
BBAM US LP,

              Plaintiffs,

           -against-

Babcock & Brown LLC, Burnham
Sterling & Company LLC, Babcock &
Brown Securities LLC, Babcock &
Brown Investment Management LLC,

              Defendants.




       DECLARATION OF DIANA RUTOWSKI IN SUPPORT OF PLAINTIFFS’
     OPPOSED MOTION FOR LEAVE TO FILE SECOND AMENDED AND FIRST
                     SUPPLEMENTAL COMPLAINT
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 2 of 138




      I, Diana Rutowski, declare as follows:

      1.    I am a partner at Orrick, Herrington & Sutcliffe LLP, counsel for the

plaintiffs BBAM Aircraft Management LP and BBAM US LP (collectively, “BBAM”).

I have personal knowledge of the facts set forth below and, if called as a witness,

I could and would competently testify thereto. I respectfully submit this

declaration in support of BBAM’s Motion for Leave to File Second Amended and

First Supplemental Complaint.

      2.    Attached as Exhibit A is a true and correct copy of redlined version

of Second Amended and First Supplemental Complaint.

      3.    Attached as Exhibit B is a true and correct copy of clean version of

Second Amended and First Supplemental Complaint.

      4.    Attached as Exhibit C is a true and correct copy of excerpts from the

July 27, 2021 deposition transcript of Michael Dickey Morgan.

      5.    Attached as Exhibit D is a true and correct copy of excerpts from the

July 28, 2021 deposition transcript of Michael Dickey Morgan.

      6.    Attached as Exhibit E is a true and correct copy of Defendants’ First

Amended and Third Supplemental Responses to Plaintiffs’ First Set of

Interrogatories served on May 13, 2021.

      7.    Attached as Exhibit F is a true and correct copy of an August 13,

2021 letter sent to Defendants’ counsel via email.



      I declare under penalty of perjury under the laws of the United States of

America that the foregoing facts are true and correct.




                                          -1-
Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 3 of 138




Executed this 2nd day of September, 2021, at Redwood City, California.



                                           /s/ Diana M. Rutowski
                                           Diana M. Rutowski




                                -2-
      Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 4 of 138




                                Certificate of Service

      I hereby certify that on September 2, 2021, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing.

Parties may access this filing through the Court’s CM/ECF system.




                                                         /s/ Diana M. Rutowski
                                                           Diana M. Rutowski

                                                     Diana M. Rutowski
                                                     (Admitted pro hac vice)
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                                          -3-
Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 5 of 138




                       Exhibit A
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 6 of 138




                          UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT



BBAM AIRCRAFT MANAGEMENT LP                  Case No. 20-cv-01056 (VLB)
and BBAM US LP,

                  Plaintiffs,

            vs.                              DEMAND FOR JURY TRIAL

BABCOCK & BROWN LLC, BURNHAM                 Original Filing Date: July 27, 2020
STERLING & COMPANY LLC,
BABCOCK & BROWN SECURITIES
LLC, BABCOCK & BROWN
INVESTMENT MANAGEMENT LLC,

                  Defendants.


      FIRSTSECOND AMENDED AND FIRST SUPPLEMENTAL COMPLAINT

      Plaintiffs BBAM Aircraft Management LP and BBAM US LP (collectively,

“Plaintiffs” or “BBAM”) bring this action against Defendants Babcock & Brown

LLC (“B&B LLC”), Burnham Sterling & Company LLC (“Burnham Sterling”),

Babcock & Brown Securities LLC (“B&B Securities”), and Babcock & Brown

Investment Management (“B&B Investment Management”) (collectively,

“Defendants”). BBAM hereby alleges as follows:

                                   NATURE OF ACTION

      1.    This is a civil action seeking relief for Defendants’ intentional and

willful infringement of BBAM’s (short for “Babcock & Brown Aircraft

Management”) trademark rights in the BABCOCK & BROWN, BBAM, and related

trademarks; false advertising; and violation of state trademark and unfair

competition law. BBAM is an aircraft leasing and asset management company
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 7 of 138




that was founded more than 30 years ago, incorporated as an entity in 1992, and

was previously owned by Babcock & Brown LP, an international investment

advisory firm. In 2010, Babcock & Brown LP went out of business, but BBAM did

not—it was purchased by its management team and continued operations.1

BBAM has continually conducted business for more than 30 years. Today, it is

the third largest manager of leased commercial jet aircraft in the world and the

largest dedicated manager of third-party capital in the sector, with more than

$28.9 billion of aircraft assets under management. BBAM built its reputation with

airlines, investors, lenders, and other market participants as a leading aircraft

leasing and asset management company over the course of more than 30 years in

business. BBAM owns incontestable federal registrations for the BBAM mark

(Reg. No. 2,424,139) and BBAM logo (             ) (Reg. No. 3,925,643) (together,

the “BBAM Marks”). In addition, BBAM is widely recognized in the industry by

the BABCOCK & BROWN mark and the abbreviated B&B mark (one or both

collectively, the “BABCOCK & BROWN Marks”) among its airline clients and its

target investor market, and it has continuously used the marks for more than 30

years. The aviation industry, including BBAM’s target audience of airlines and

investors in leased commercial jet aircraft, understands that BBAM is an

abbreviation of “Babcock & Brown Aircraft Management” and associates the

BABCOCK & BROWN mark and the abbreviated BBAM and B&B marks with



1 This change in ownership is sometimes referred to as a “buyout” because
BBAM’s management team at the time “bought out” Babcock & Brown LP’s
interest in BBAM and acquired ownership of BBAM and BBAM’s affiliated entities,
including Babcock & Brown’s aircraft financing and leasing business.



                                         -2-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 8 of 138




BBAM.

      2.    After leaving Babcock & Brown LP in or around 2010, former

employee Michael Dickey Morgan started Burnham Sterling, offering financial

advisory and investment management services to airlines. Starting around

2018As revealed through discovery in this action, Burnham Sterling and several

of Morgan’s other entities (named as Defendants) began using use BBAM’s

BABCOCK & BROWN and B&B word marks to associate themselves with, and to

trade off of, BBAM’s long-standing reputation and goodwill in the industry.

Defendants’ false and infringing useuses of the BABCOCK & BROWN Marks isare

likely to lead to consumer confusion and to cause mistake in the airline and

aircraft financing industries, to harm BBAM’s reputation, and to create a

significant risk of confusion. Defendants’ actions will divert business

opportunities that would have otherwise gone to BBAM.

                                  THE PARTIES

      3.    Plaintiff BBAM Aircraft Management LP is a Delaware limited

partnership, with an address at 50 California Street, 14th Floor, San Francisco, CA

94111.

      4.    Plaintiff BBAM US LP is a Delaware limited partnership, with an

address at 50 California Street, 14th Floor, San Francisco, CA 94111.

      5.    Defendant Babcock & Brown LLC is a Delaware limited liability

company, with an address at 29 River Road, Suite 102, Cos Cob, CT 06807.

      6.    Defendant Burnham Sterling & Company LLC is a Connecticut

limited liability company, with an address at 29 River Road, Suite 102, Cos Cob,




                                        -3-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 9 of 138




CT 06807.

      7.     Defendant Babcock & Brown Securities LLC is a Connecticut limited

liability company, with an address at 29 River Road, Suite 102, Cos Cob, CT

06807.

      8.     Defendant Babcock & Brown Investment Management LLC is a

Connecticut limited liability company, with an address at 29 River Road, Suite

102, Cos Cob, CT 06807.

                            JURISDICTION AND VENUE

      9.     BBAM brings this action under the Lanham Act, 15 U.S.C. §§ 1114,

1125, Connecticut state law, and the common law.

      10.    This Court has subject matter jurisdiction over these claims

pursuant to 28 U.S.C. §§ 1331 and 1338 and 15 U.S.C. § 1121, as this is an action

arising under the laws of the United States and relating to trademarks. This Court

has both original and supplemental jurisdiction over the related state law claims

pursuant to 28 U.S.C. §§ 1338(b) and 1367, as those claims are so related to the

Lanham Act claims that they form part of the same case or controversy as the

federal claims herein.

      11.    The Court has personal jurisdiction over Defendants because all

Defendants operate from principal places of business in Connecticut and three of

the Defendants are Connecticut limited liability companies.

      12.    Venue is proper in this District under 28 U.S.C. § 1391 because

Defendants reside in Connecticut and in this District, a substantial part of the

events giving rise to BBAM’s claims occurred in this District, and Defendants are




                                         -4-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 10 of 138




subject to the Court’s personal jurisdiction because they maintain their principal

places of business in this District.

                       BBAM’S BUSINESS & TRADEMARKS

      13.    BBAM operates one of the largest and most successful aircraft

leasing companies in the world. Aircraft leasing is the leading form of equipment

finance for the global airline industry, with the share of the global fleet on an

operating lease reaching 45% in 2019. Under an aircraft lease, an airline is

granted the right to use an aircraft for the lease duration in return for contractual

periodic lease payments to the aircraft owner. The airline bears all costs of

operating and maintaining the aircraft during the lease term, and the aircraft

owner, which bears the risks and rewards associated with its investment in the

aircraft, monitors the airline’s use and maintenance of the aircraft to ensure

compliance with legal and contractual requirements. The majority of aircraft

leasing transactions are sale-and-leaseback transactions between aircraft lessors

and airlines (2019: $19.4 billion) and direct purchases by aircraft lessors from the

Boeing Company and Airbus Group of aircraft to be placed on lease with airlines

(2019: $23.7 billion). Aircraft lessors also purchase and sell aircraft that are

already under lease to and from other aircraft lessors (2019: $20.9 billion) in order

to actively manage their portfolios of leased and managed aircraft.

      14.    BBAM sources, arranges, and manages aircraft leasing transactions

that meet the needs of its airline clients and BBAM’s investors. BBAM’s business

includes services related to aircraft leasing and financing, such as: (1) BBAM

offers new and used commercial jet aircraft on lease as a form of aviation finance




                                          -5-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 11 of 138




to its global network of airline customers; and (2) BBAM provides investors in

leased commercial jet aircraft the full range of asset management services

necessary to manage an aircraft portfolio. As of March 31, 2020, BBAM managed

530 aircraft that are on lease to more than 90 airlines around the world. Over its

30-year operating history, BBAM has originated more than 1,000 individual

aircraft investments, remarketed or sold more than 1,250 aircraft, and sourced

more than $20 billion of financing for these and similar transactions. BBAM is a

global leader in the aircraft leasing and asset management industry, and along

with its joint-marketing partner, Japan-based Nomura Babcock & Brown Co., Ltd.

(“Nomura Babcock & Brown”), is well known as the market leader in arranging

Japanese operating lease (“JOL”) financing for airline clients in the United States

and around the world. BBAM counts among its clients the major U.S. airlines

Delta Air Lines, American Airlines, and Alaska Airlines, as well as other airlines

doing regular business in the United States, including Aer Lingus, Air France,

British Airways, El Al Israel Airlines, LATAM Airlines Group, Virgin Atlantic, and

many more.

      15.    BBAM was originally operated as a division of Babcock & Brown LP,

an international investment advisory firm, from its inception in late 1989 or early

1990 until 2010. In 1992, BBAM (then Babcock & Brown Aircraft Management

Inc.) was incorporated as the operating entity for that business. In 1999, BBAM

converted to a limited liability company and changed its name to Babcock &

Brown Aircraft Management LLC. In 2010, BBAM’s ownership changed when its

management acquired Babcock & Brown’s aircraft leasing business, including




                                         -6-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 12 of 138




Babcock & Brown Aircraft Management LLC, and BBAM subsequently converted

to a limited partnership and changed its corporate name to BBAM Aircraft

Management LP. BBAM’s business has operated continuously in the aircraft

financing and leasing field for more than 30 years.

      16.   Through the 2010 transaction, BBAM’s management team acquired

ownership of the entire aircraft leasingaviation business of Babcock & Brown and

all assets of the Babcock & Brown Aircraft Management division, including

BBAM, BBAM’s then existing leases and asset management relationships with

major airlines, BBAM’s exclusive joint marketing relationship with Nomura

Babcock & Brown, BBAM’s current employment contracts and relationships,

BBAM’s physical assets, and BBAM’s web domains, including www.bbam.us,

www.babcockbrownair.com, and www.bbam.com. The 2010 transaction reflected

a change in ownership—BBAM continued as the same entity with the same

business and BBAM’s goodwill and trademark rights were maintained as property

of the company. Babcock & Brown LP also agreed that BBAM (then named

Babcock & Brown Aircraft Management LLC) would have exclusive use of the

Babcock & Brown name in the aviation field. It agreed not to “license or grant” to

any other person “the right to use, the name ‘Babcock & Brown’ in connection

with any aviation related activities or business,” thus preserving the status quo

because BBAM was the only operational entity that had developed rights in the

BABCOCK & BROWN Marks in that field. Further, BBAM and Babcock & Brown

LP agreed that should any other rights in the Babcock & Brown name ever be put

up for sale, BBAM would have the right of first refusal to purchase the name. In




                                        -7-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 13 of 138




short, BBAM maintained the rights it had developed in the BABCOCK & BROWN

Marks in the aviation field, and the parties foreclosed the possibility that any

other rights in the BABCOCK & BROWN name would be assigned to a third party

absent notice to BBAM and an opportunity for BBAM to first purchase those

rights.

      17.    BBAM owns an incontestable federal registration in the BBAM word

mark, Reg. No. 2,424,139, covering “lease business management, purchasing

agent and commercial information agency, concerning leased assets, namely

aircrafts” in International Class 35, registered January 23, 2001. BBAM also owns

an incontestable federal registration in the BBAM logo (             ), Reg. No.

3,925,643, covering “business management, purchasing agents and commercial

information in the field of aircrafts” in International Class 35 and “leasing of

aircrafts” in International Class 39, registered March 1, 2011. True and correct

copies of both registrations are attached as Exhibit A. BBAM has used the BBAM

mark in commerce since at least 1999 and the BBAM logo since at least 2010.

      18.    With respect to the BABCOCK & BROWN Marks, BBAM has used

them in interstate commerce in connection with offering BBAM’s services

throughout the United States and the world continuously for more than 30 years.

BBAM thus owns common-law trademark rights in the BABCOCK & BROWN

Marks throughout the United States. Since BBAM changed ownership in 2010, it

has continuously conducted business under the Babcock & Brown name directly,

through its subsidiary and related companies, and via its exclusive joint-

marketing partnership with the Japan-based Nomura Babcock & Brown. As part




                                         -8-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 14 of 138




of the partnership, BBAM markets JOL services under the BABCOCK & BROWN

mark in the United States.

      19.   Additionally, BBAM’s website touts its long history and use of the

BABCOCK & BROWN Marks:

            (a)    The “History of Superior Aircraft Management and Beyond”

(www.bbam.com/about-bbam/history) identifies BBAM’s formation as a division

of Babcock & Brown LP;

            (b)    The Ownership page (www.bbam.com/about-bbam/ownership)

describes BBAM’s creation as a division of Babcock & Brown LP and the 2010

change in ownership; and

            (c)    The Management Team Overview page (www.bbam.com/about-

bbam/management-team/overview) describes continuity of the company’s

management, “in place since the company was founded in 1990 as a division of

Babcock & Brown.”




                                       -9-
    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 15 of 138




     20.   The following images are examples of BBAM’s use of the BBAM and

BABCOCK & BROWN marks on BBAM’s website:




                                   -10-
    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 16 of 138




      21.   BBAM has also solicited investment and funding using the

BABCOCK & BROWN Marks, including advertising its operation under the

BABCOCK & BROWN Marks going back more than 30 years and its history as a

division of Babcock & Brown LP. The continuity of BBAM’s business when it

operated as a division of Babcock & Brown, called Babcock & Brown Aircraft

Management, through to BBAM’s present operations is a key component of

BBAM’s marketing strategy.




                                     -11-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 17 of 138




      22.    BBAM also useshas used the BABCOCK & BROWN Marks through

an affiliated company, Fly Leasing Limited (“Fly”). Fly iswas a NYSE-listed

aircraft lessor with a portfolio of 113 aircraft that iswas exclusively managed by

BBAM. Fly went public in 2007 under the name Babcock & Brown Air Ltd.

Through its management of Fly until August 2021, including participation in Fly’s

governance, BBAM controlscontrolled the quality of the goods and services to

which Fly and its affiliates applyapplied the BABCOCK & BROWN mark.

      23.    In or around the beginning of August 2021, Fly was acquired by

Carlyle Aviation Partners (“Carlyle”) and delisted as a public company. BBAM

continues to control Fly’s use of the BABCOCK & BROWN Marks through a

license agreement with Fly. In connection with the acquisition, BBAM and Fly

entered into a license whereby Fly was granted a worldwide, non-exclusive, non-

assignable, non-sublicensable, royalty-free license to use the BABCOCK &

BROWN and B&B marks in the same manner that Fly historically used the marks

in connection with activities conducted by its subsidiaries. The license sets forth

quality control requirements for Fly as licensee and maintains BBAM’s right to

inspect and maintain quality control over Fly’s use of the marks. Also in

connection with the acquisition, BBAM, Fly, Carlyle and certain of their affiliates

entered into a sub-servicing agreement, pursuant to which BBAM and its affiliates

agreed to delegate the performance of certain services under their servicing

agreements with Fly to affiliates of Carlyle. Under the sub-servicing agreement,

BBAM remains in place as servicer for a period of time following the closing of

the transaction, providing BBAM with continued direct involvement and oversight




                                        -12-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 18 of 138




into Fly’s use of the marks.

      22.24. Where Fly uses or used the BABCOCK & BROWN Marks, it is with

the authorization and accrues to the benefit of BBAM. Fly holds a number of

aircraft leasing entities and investment vehicles that operate under the Babcock

& Brown or B&B names, including:

             Babcock & Brown Air Funding I Limited

             Babcock & Brown Air Acquisition I Limited

             B&B Air Funding 888 Leasing Limited

             B&B Air Funding 27974 Leasing Limited

             B&B Air Funding 28595 Leasing Limited

             B&B Air Funding 29052 Leasing Limited

             B&B Air Funding 29330 Leasing Limited

             B&B Air Funding 30785 Leasing Limited

             B&B Air Acquisition 3151 Leasing Limited

             B&B Air Acquisition 3237 Leasing Limited

             B&B Air Acquisition 34953 Leasing Limited

             B&B Air Acquisition 403 Leasing Limited

             B&B Air Acquisition 34956 Leasing Limited

      23.25. For example, Babcock & Brown Air Funding I Limited used the

BABCOCK & BROWN Marks to attract debt investors and sell corporate debt.

The initial offering was made under the BABCOCK & BROWN mark and quarterly

and annual reports were issued to investors and debt ratings agencies using the

BABCOCK & BROWN mark.




                                       -13-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 19 of 138




      24.26. Other subsidiary entities of Fly held leased aircraft, and were counter

signatories lease those aircraft to leasing agreements with Fly’s target

customers, airlines,, for and provide related aircraft leasing services. Leasing

entities’ names include the BABCOCK & BROWN Marks in order to signify to the

lessor/customer that the source of the aircraft lease is associated with and

affiliated with Fly and BBAM.

      25.27. BBAM also uses the BABCOCK & BROWN Marks through its

exclusive co-marketing partnership with Nomura Babcock & Brown. Nomura

Babcock & Brown, an investment firm focusing on international aircraft leasing,

was originally formed as a joint venture in 1986 between Nomura Securities Co.,

Ltd., and Babcock & Brown LP. In the 1990s, the relationship shifted into an

exclusive joint-marketing agreement whereby BBAM sources, arranges, and

manages investments in commercial jet aircraft on operating leases to airlines for

Nomura Babcock & Brown’s clients seeking to invest in commercial jet aircraft

JOL and related products. JOL financing products and services have been

marketed worldwide jointly under the BBAM and Nomura Babcock & Brown

names, including in the United States, continuously since the Nomura Babcock &

Brown relationship began.




                                        -14-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 20 of 138




      26.28. BBAM markets its partnership with Nomura Babcock & Brown and

uses the BABCOCK & BROWN mark in that context on its website:




      27.29. BBAM is well known as the market leader, in partnership with

Nomura Babcock & Brown, in arranging JOL financing for airline clients in the

United States and around the world. The Nomura Babcock & Brown joint-

marketing agreement was assigned, with Nomura Babcock & Brown’s consent,

by Babcock & Brown LP to BBAM in 19982008. The exclusive joint-marketing

agreement between BBAM and Nomura Babcock & Brown provides that they

“shall jointly offer Japanese Leveraged Leases, Japanese Operating Leases,” and

other financial products that the parties agree to develop or market jointly. The



                                       -15-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 21 of 138




agreement further states that Nomura Babcock & Brown is entitled to use the

Babcock & Brown name as part of its legal name and “may use the name

‘Babcock & Brown’ or ‘B&B’ in connection with [joint transactions].” Nomura

Babcock & Brown can only use the BABCOCK & BROWN mark in the United

States if it is engaged in joint business with BBAM. BBAM has the right to

terminate the agreement, and in the event of termination, Nomura Babcock &

Brown must change its corporate name and cease using BABCOCK & BROWN.

Where Nomura Babcock & Brown uses BABCOCK & BROWN, it isrefers to the

BBAM portion of the joint-marketing partnership and is used with the

authorization of and accrues to the benefit of BBAM.

      28.30. Under the joint-marketing agreement, BBAM and Nomura Babcock &

Brown jointly market JOL financial products to airlines both in the United States

and around the world. JOL financing is highly sought after by airlines because

(1) it offers a very inexpensive form of fleet financing (driven in part by the

favorable tax treatment accorded aircraft investments in Japan and in part by the

prevailing low interest rate environment); and (2) certain JOL financing structures

enable airlines to repurchase the aircraft at lease end (so called Japanese

Operating Lease with Call Option, or “JOLCO,” transactions). Although JOL

financing is highly attractive to airlines, the availability of such financing is

constrained by limited total demand on the part of Japanese investors, their

strong preference for only the most stable and prominent airlines as lessees, and

other factors. The high standards required to obtain JOL financing and the

complexity of the related financing structures means that relationships,




                                          -16-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 22 of 138




reputation, and experience are critical in sourcing and arranging such financing

with airlines and investors. Through BBAM’s investment in the Nomura Babcock

& Brown relationship and continuous marketing activities using the BABCOCK &

BROWN mark, airlines aircraft manufacturers, and investors in the United States,

including Delta Air Lines, American Airlines, Alaska Airlines, and the Boeing

Company, and around the world have come to associate the BABCOCK &

BROWN mark with BBAM’s high quality aircraft leasing and asset management

businesses generally and particularly with BBAM’s expertise in the JOL financing

market. In other words, BBAM markets and sells JOL-related products and

services under the BABCOCK & BROWN Marks to U.S. airlines and has been

doing this business continuously since the 1990s.

DEFENDANTS’ UNAUTHORIZED REGISTRATION AND USE OF THE BABCOCK &
                        BROWN MARKS

      29.31. On information and belief, Michael Dickey Morgan, a former Babcock

& Brown employee, is a managing memberdirectly or indirectly the sole owner

and manager of each Defendant or of the holding company that is the sole

managing member of each Defendant.. Morgan’s prior role at Babcock & Brown

LP was in connection with a part of thethe BBAM aviation business similar to

BBAM’s, but they parted ways after BBAM changed ownership in 2010. Morgan

acquired no rights to the BABCOCK & BROWN Marks. Shortly after Babcock &

Brown LP ceased operations, Morgan launched Defendant Burnham Sterling, a

business that competes directly with BBAM in the aviation industry with clients

such as American Airlines and other well-known airlines in the United States and

around the world. Discovery has shown that Burnham Sterling and the other




                                       -17-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 23 of 138




Defendants recently began usingused one or more of the BABCOCK & BROWN

Marks in commerce in connection with their goods andits services in the aircraft

leasing and asset management industries. Discovery has also shown that

Defendant Babcock & Brown Securities has used one or more of the BABCOCK &

BROWN Marks in connection with the offering of and sale of services in the

aircraft leasing and asset management industries since July 2020.




                                                                    Defendants’

uses of the BABCOCK & BROWN Marks are intentional and willful attempts to

trade off of the goodwill and reputation associated with BBAM in the aviation

industry generally and specifically in the JOL financing market, where Defendant

Burnham Sterling actively competes against BBAM.

      Defendant Burnham Sterling

      30.32. Defendant Burnham Sterling was formed in or around May 2010 by

Michael Dickey Morgan andwith the assistance of John Morello, two former

executivesemployees at Babcock & Brown LP. Burnham Sterling is an aircraft

advisory company that offers a range of services, including aircraft leasing,

financial analysis, and leasing portfolio management services.

      31.33. On January 13, 2016, Burnham Sterling filed U.S. Trademark

Application Serial No. 86/874,191 for the BURNHAM BABCOCK & BROWN word




                                       -18-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 24 of 138




mark in connection with “investment banking; financial consultation; financial

analysis; capital investment and private equity fund management; and financial

advisory services in the fields of asset-backed financings, project financings,

leveraged leases, sale leasebacks, portfolios of leased or financed assets,

secured debt, tax-advantaged financings; financial advisory services in the fields

of financing equipment purchasing, financing equipment leasing, and financing

equipment sales; investment management” in International Class 36. On

information and belief, Burnham Sterling uses the BURNHAM BABCOCK &

BROWN mark in commerce in connection with the aforementioned goods and

services.




                                       -19-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 25 of 138




      32.34. Burnham Sterling uses the BABCOCK & BROWN Mmarks in

marketing materials and, for example, on its homepage

(www.burnhamsterling.com/), as shown below:




      33.35. BBAM’s use of the BABCOCK & BROWN Marks in commerce

predates Burnham Sterling’s application to register and use of BURNHAM

BABCOCK & BROWN and use of BABCOCK & BROWN.

      34.36. Burnham Sterling also makes false or misleading statements

regarding its connection to and affiliation with Babcock & Brown LP. OnAs

examples, on its Facebook and LinkedIn pages, Burnham Sterling advertises that

some of its employees had prior employment with “Babcock & Brown,” and

claims that, “The traditional aircraft advisory activities formerly offered by

Babcock are now offered by Burnham Sterling.” In marketing materials, Burnham



                                         -20-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 26 of 138




Sterling makes express, literally false claims of affiliation or continuation with

Babcock & Brown and/or BBAM, often referring to the two entities

interchangeably. Burnham Sterling’s statements falsely claim a continuation of

business from Babcock & Brown LP, or at the least are likely to mislead relevant

consumers into believing that there is a continuation, sponsorship, or affiliation

between Babcock & Brown LP and Burnham Sterling where no such relationship

exists. To the contrary, BBAM is the continuation of the business associated

with Babcock & Brown LP in the aircraft financing and aircraft asset-management

field. For this reason, Burnham Sterling’s statements are likely to mislead

consumers into believing there is a connection, sponsorship, or affiliation

between Burnham Sterling and BBAM where none exists.

      Defendant B&B Securities

      35.37. Defendant B&B Securities was formed in or around September 2013

under the name Burnham Sterling Securities LLC. Burnham Sterling Securities

LLC changed its name to Babcock & Brown Securities LLC in or around

December 2019. B&B Securities is a registered broker-dealer under the

Securities and Exchange Act of 1934 and is approved by the Financial Industry

Regulatory Authority (“FINRA”) to engage in the private placement of securities,

to act as a broker-dealer in selling interests in unregistered private investment

funds, and to engage in mergers and acquisitions in an advisory capacity.

      36.38. On information and belief,Discovery has shown that B&B Securities

has used the BABCOCK & BROWN Mmarks in commerce in connection with its

aircraft financing goods and services.




                                         -21-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 27 of 138




      37.39. BBAM’s use of the BABCOCK & BROWN Marks in commerce

predates B&B Securities’ use of the BABCOCK & BROWN.

      Defendant B&B LLC

      38.40. BBAM recentlyShortly before this litigation was filed, BBAM became

aware that Defendant B&B LLC was formed by Michael Dickey Morgan in or

around November 2014.

      39.41. BBAM recently became aware shortly before this litigation was filed

of the fact that in 2015 and 2016, B&B LLC filed, and later received registrations,

for the following trademarks (collectively, the “B&B LLC Marks”):

             (a)   the “B & B” word mark (U.S. Reg. No. 5,851,855) filed on

January 13, 2016, registered on September 3, 2019, with a stated first use in

commerce date of October 19, 2018, for “investment management” in Class 36;

             (b)   the “B&B” word mark (U.S. Reg. No. 6,037,338) filed on

December 14, 2015, registered on April 21, 2020, with a stated first use in

commerce date of October 19, 2018, for “investment banking; financial

consultation; financial analysis; capital investment and private equity fund

management; and financial advisory services in the fields of asset-backed

financings, project financings, leveraged leases, sale leasebacks, portfolios of

leased or financed assets, secured debt, tax-advantaged financings; financial

advisory services in the fields of financing equipment purchasing, financing

equipment leasing, and financing equipment sales” in Class 36;

             (c)   the “BABCOCK & BROWN” word mark (U.S. Reg. No.

5,643,846) filed on January 13, 2016, registered on January 1, 2019, with a stated




                                        -22-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 28 of 138




first use in commerce date of October 19, 2018, for “investment management” in

Class 36; and

             (d)   the “BABCOCK & BROWN” word mark (U.S. Reg. No.

5,769,928) filed on March 6, 2015, registered on June 4, 2019, with a stated first

use in commerce date of October 19, 2018, for “investment banking; financial

consultation; financial analysis; capital investment and private equity fund

management; and financial advisory services in the fields of asset-backed

financings, project financings, leveraged leases, sale leasebacks, portfolios of

leased or financed assets, secured debt, tax-advantaged financings; financial

advisory services in the fields of financing equipment purchasing, financing

equipment leasing, and financing equipment sales” in Class 36.

      42.    Each of the trademark applications for the B&B LLC Marks were filed

under 15 U.S.C. § 1051(b) based on B&B LLC’s alleged bona fide intention to use

the marks in commerce. Upon receiving a notice of allowance for each

application, B&B LLC was required to submit a statement of use verifying that

each mark had been used or displayed in the sale or advertising of its services

and that those services had been rendered in commerce within the six-month

statutory period set by 15 U.S.C. § 1051(d), which can be extended up to at most

30 months, id.




                                        -23-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 29 of 138




      43.    For Trademark Reg. Nos. 5,769,928 (BABCOCK & BROWN), 6,037,338

(B&B), and 5,851,855 (B & B), B&B LLC filed the maximum number of extensions

of time to file a statement of use, which were granted, and had until October 20,

2018, July 5, 2019, and July 5, 2019, respectively, to put the marks into use and to

file statements of use pursuant to 15 U.S.C. § 1051(d). For Trademark Reg. No.

5,643,846 (BABCOCK & BROWN), B&B LLC filed its second-to-last extension of

time on July 3, 2018 which gave it until January 5, 2019 to put the mark into use

and file its statement of use.

      44.    Discovery in this action has shown that B&B LLC failed to render

services for each of the B&B LLC Marks in connection with the services listed in

each respective trademark application prior to the relevant statutory deadlines.




                                        -24-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 30 of 138




      40.45. Despite the fact that B&B LLC has not itself rendered services in

connection with the goods and services listed in each respective trademark

application, B&B LLC uses the BABCOCK & BROWN and B&B marks on its

homepage and in marketing flyersin a manner that falsely claims that it has

clients and renders services to those clients, as shown below:




                                       -25-
    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 31 of 138




     41.46. BBAM’s use of the BABCOCK & BROWN Marks in commerce

predates B&B LLC’s use of the B&B LLC Marks and the founding of B&B LLC’s

company.

     Defendant B&B Investment Management

     42.47. BBAM recentlyShortly before this litigation was filed, BBAM became

aware that Defendant B&B Investment Management was formed by Michael

Dickey Morgan in or around December 2015. The B&B Investment Management

name was selected due to its connection to the BABCOCK & BROWN mark.

     48.




     43.49. B&B Investment Management has used the BABCOCK & BROWN

and B&B marks in commerce in connection with its investment management




                                     -26-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 32 of 138




services, including in promotional flyers produced in cooperation with B&B LLC,

shown above. On information and belief, the B&B Investment Management name

was selected due to its connection to the BABCOCK & BROWN mark. :




      44.50. BBAM’s use of the BABCOCK & BROWN Marks in commerce

predates B&B Investment Management’s use of the BABCOCK & BROWN mark.

  DEFENDANTS’ ACTIONS ARE WILLFUL AND LIKELY TO CAUSE CONFUSION

      45.51. On information and belief, Defendants’ use of the BABCOCK &

BROWN Marks is a purposeful and willful attempt to trade off of the goodwill

associated with the BABCOCK & BROWN Marks and BBAM’s business. Morgan

was affiliated withemployed by Babcock & Brown LP and BBAM until around the

time the firmBabcock & Brown LP went out of business. On information and

belief, (1) Morgan was aware of BBAM’s rights in the BABCOCK & BROWN Marks

and the goodwill associated therewith; (2) Morgan was aware that Nomura




                                      -27-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 33 of 138




Babcock & Brown used “Babcock & Brown” as part of an exclusive joint

venturemarketing partnership with BBAM; and (3) Morgan adopted use of the

BABCOCK & BROWN Marks with the intent to capture BBAM’s goodwill

associated with the marks with the full knowledge that doing so would cause

harm to BBAM and cause confusion amongst BBAM’s customers, clients, and

investors; and (4) Morgan sought the right to use the BABCOCK & BROWN Marks

multiple times, and was specifically denied such right.

      46.52. Defendants’ use of the BABCOCK & BROWN Marks has caused and

will continue to cause consumer confusion.

            (a)    The BABCOCK & BROWN Marks and BBAM Marks are both

conceptually and commercially strong. The Babcock & Brown name and

formatives, such as BBAM, the BBAM logo, and B&B, constitute arbitrary marks

when used with aviation leasing and finance services. The BABCOCK & BROWN

Marks are commercially strong because they are well-recognized in the industry

and BBAM’s connection to and continuation of the Babcock & Brown aviation

business is well known in the industry. See, e.g., S. Tan, “Babcock & Brown:

Where are they now?,” Financial Review, June 1, 2018, available at

www.afr.com/companies/financial-services/babcock--brown-where-are-they-now-

20180531-h10tbc (describing BBAM as “one of the world’s leading aviation

management businesses” and linking BBAM to a continuation of one of Babcock

& Brown’s “flagship operations.”). Industry trade groups recognize BBAM as a

direct continuation of “Babcock & Brown Aircraft Management, a wholly owned

subsidiary of Babcock & Brown.” Centre for Aviation, Lessor Profile of BBAM,




                                       -28-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 34 of 138




available at https://centreforaviation.com/data/profiles/lessors/bbam. Through

extensive marketing efforts and industry news coverage, including activities with

Nomura Babcock & Brown, BBAM is well known in the aviation financing industry

as the source of financing services throughout the United States under the

BABCOCK & BROWN Marks. The BBAM Marks are likewise commercially strong

because they are well-recognized in the industry and BBAM is a prominent

provider of services in the aircraft financing and asset-management industry.

Through extensive marketing efforts and industry news coverage, BBAM is well

known in the aviation financing industry as the source of financing services

throughout the United States under the BBAM Marks.

            (b)   Defendants’ marks are identical or virtually identical to the

BABCOCK & BROWN Marks. Defendants’ marks are confusingly similar to the

BBAM Marks. It is commonly understood that BBAM stands for “Babcock &

Brown Aircraft Management,” and the BBAM logo is designed to graphically

separate and display prominently the letters “BB” as opposed to the letters “A”

and “M,” as shown below:




Consumers will associate the BABCOCK & BROWN Marks when used by

Defendants with BBAM and the BBAM Marks.

            (c)   Defendants compete with BBAM in the aircraft financing and




                                       -29-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 35 of 138




leasing market. Defendants also compete with BBAM for the business of U.S.

airlines, including Delta Air Lines, American Airlines, and other U.S.-based

airlines. Defendant B&B LLC, for example, touts itsfalsely touted a non-existent

relationship with BBAM client Delta Air Lines, among others, on its website:




            (d)    Defendants acted with intent. Defendants’ managing partner,

Morgan, was well aware of BBAM, its connection to Babcock & Brown, and use of

the BABCOCK & BROWN Marks when Defendants adopted their infringing marks.

On information and belief, Morgan selected Defendants’ marks in order to trade

off of BBAM’s recognition and goodwill in the market and BBAM’s continuation of

Babcock & Brown’s aircraft management business.

            (e)    Defendants’ use of the BABCOCK & BROWN Marks or

confusingly similar marks is likely to harm BBAM’s reputation in the industry.

Clients in the aviation management and financing industry expect business




                                       -30-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 36 of 138




associated with the BABCOCK & BROWN Marks and the BBAM Marks to be

associated with and controlled by BBAM and its management. Defendants’ use

of confusingly similar marks will harm, if it has not already harmed, BBAM’s

reputation by creating a false association with BBAM’s business and goodwill.

            (f)    There is a substantial risk of confusion as Defendants seek

out business using the BABCOCK & BROWN Marks that will cause clients to

direct their attention to Defendants rather than BBAM. Defendants will be able to

use confusion to “get their foot in the door” and pitch business opportunities that

would have been BBAM’s opportunities absent Defendants’ wrongful conduct.

      47.53. In short, by their use of the BABCOCK & BROWN Marks, Defendants

improperly associate themselves with BBAM—including BBAM’s successes and

industry reputation—cause confusion among BBAM’s airline clients and

investors, and cause significant, lasting, and irreparable harm to BBAM’s

reputation and goodwill, which BBAM has built up over the past 30 years.

                            FIRST CLAIM FOR RELIEF

      (Trademark Infringement, 15 U.S.C. § 1114(1), Against All Defendants)

      48.54. BBAM repeats and realleges the allegations set forth in paragraphs

1–4753 above, as though fully set forth herein.

      49.55. BBAM owns incontestable federal registrations in the BBAM Marks.

      50.56. Defendant Burnham Sterling uses the BABCOCK & BROWN

markMarks, which isare confusingly similar to the BBAM Marks, in commerce in

connection with investment banking, equipmentaviation leasing, and investment

management products andfinancing advisory services. BBAM’s rights in the




                                       -31-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 37 of 138




BBAM Marks predate Burnham Sterling’s first use of the BABCOCK & BROWN

mark.

        51.57. On information and belief, Defendant B&B Securities began

usinguses the BABCOCK & BROWN markMarks, which are confusingly similar to

the BBAM Marks, in commerce in or around December 2019 in connection with its

aircraft financing goods and services. BBAM’s rights in the BBAM Marks predate

B&B Securities’ founding and first use of the BABCOCK & BROWN markMarks.

        52.58. Defendant B&B LLC has used and registered the B&B LLC Marks,

which are confusingly similar to the BBAM Marks, in connection with investment

banking, investment management, and equipment leasing.. BBAM’s rights in the

BBAM Marks predate B&B LLC’s founding and firstany use of each of the B&B

LLC Marks.

        53.59. Defendant B&B Investment Management began usinguses the

BABCOCK & BROWN mark in or around October 2018 Marks in connection with

its investment management goods and services. BBAM’s rights in the BBAM

Marks predate B&B Investment Management’s founding and firstany use of the

BABCOCK & BROWN markMarks.

        54.60. On information and belief, eachEach Defendant had knowledge of

the BBAM Marks and BBAM’s use of the BBAM Marks prior to the respective

Defendant’s adoption and use, if any, of one or both of the BABCOCK & BROWN

Marks, or their other confusingly similar marks, based on Michael Dickey

Morgan’s previous work experience at Babcock & Brown LP, interactions with

BBAM, and knowledge of the industry.




                                       -32-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 38 of 138




      55.61. Defendants’ unauthorized use in commerce of or advertising using

one or both of the BABCOCK & BROWN Marks as alleged herein is likely to

deceive consumers as to the origin, source, sponsorship, and/or affiliation of

Defendants’ services, and is likely to cause consumers to mistakenly believe that

Defendants’ services are in some way affiliated with or sponsored by BBAM.

Defendants’ conduct therefore constitutes trademark infringement of BBAM’s

federally registered BBAM Marks in violation of 15 U.S.C. § 1114(1).

      56.62. Defendants’ use of one or both of the BABCOCK & BROWN Marks

and other confusingly similar marks will cause BBAM to lose business

opportunities and damage BBAM’s reputation in the aircraft management and

leasing industry.

      57.63. Defendants’ conduct has caused BBAM to suffer injuries, and

Defendants continue to engage in such conduct.

      58.64. Defendants will continue to infringe upon BBAM’s rights unless and

until enjoined by this Court. BBAM has been and is likely to continue to be

irreparably injured unless Defendants are enjoined. BBAM has no adequate

remedy at law.

                          SECOND CLAIM FOR RELIEF

(False Designation of Origin, Affiliation, Connection, and Sponsorship, 15 U.S.C.

                     § 1125(a)(1)(A), Against All Defendants)

      59.65. BBAM repeats and realleges the allegations set forth in paragraphs

1–5864 above, as though fully set forth herein.

      60.66. Defendants’ conduct constitutes trademark infringement under 15




                                       -33-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 39 of 138




U.S.C. § 1125(a).

         61.67. BBAM’s use in commerce of the BABCOCK & BROWN Marks and

BBAM Marks is senior to any use by Defendants’ and predates the formation

dates of each Defendant and the date that each Defendant first used the “B&B” or

“Babcock & Brown” names in commerce. BBAM began using the BABCOCK &

BROWN Marks in commerce when it was founded more than 30 years ago, the

BABCOCK & BROWN Marks have been in continuous use, and BBAM continues

to use the BABCOCK & BROWN Marks today. BBAM used the BBAM Marks in

commerce prior to Defendants’ use of the BABCOCK & BROWN Marks, the BBAM

Marks have been in continuous use, and BBAM continues to use the BBAM Marks

today.

         62.68. Defendant Burnham Sterling has attempted to register the

BURNHAM BABCOCK & BROWN mark, which is confusingly similar to the

BABCOCK & BROWN Marks and the BBAM Marks, and on information and belief

has used the mark in connection with investment banking, equipment leasing,

and investment management products and services. Burnham Sterling also uses

the BABCOCK & BROWN mark in commerceMarks in connection with investment

banking, equipmentaviation leasing, and investment management products and

and financing services. BBAM’s rights in the BABCOCK & BROWN Marks and

BBAM Marks predate Burnham Sterling’s first use of the BURNHAM BABCOCK &

BROWN mark and the BABCOCK & BROWN markMarks.

         63.69. Burnham Sterling’s use of the BURNHAM BABCOCK & BROWN mark

and BABCOCK & BROWN markMarks is likely to cause consumer confusion,




                                         -34-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 40 of 138




deception, or mistake as to the source or origin of the goods and/orBurnham

Sterling’s services.

      64.70. On information and belief, Defendant B&B Securities began

usinguses the BABCOCK & BROWN Marks in commerce in or around December

2019 in connection with its aircraft leasing and financing goods and services.

BBAM’s rights in the BABCOCK & BROWN Marks and BBAM Marks predate B&B

Securities’ founding and first use of the BABCOCK & BROWN Marks.

      65.71. B&B Securities’ use of the BABCOCK & BROWN Marks is likely to

cause consumer confusion, deception, or mistake as to the source or origin of

theB&B Securities’ goods and/or services.

      66.72. Defendant B&B LLC has used and registered the B&B LLC Marks,

which are confusingly similar to (or identical to) the BABCOCK & BROWN Marks,

in connection with investment banking, investment management, and equipment

leasing. BBAM’s rights in the BABCOCK & BROWN Marks and BBAM Marks

predate B&B LLC’s founding and first use of each of the B&B LLC Marks.

      67.73. B&B LLC’s use of the B&B LLC Marks is likely to cause consumer

confusion, deception, or mistake as to the source or origin of theB&B LLC’s

goods and/or services.

      68.74. Defendant B&B Investment Management began usinguses the

BABCOCK & BROWN Marks in or around October 2018 in connection with its

investment management goods and services. BBAM’s rights in the BABCOCK &

BROWN Marks and BBAM Marks predate B&B Investment Management’s

founding and first use of the BABCOCK & BROWN Marks.




                                       -35-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 41 of 138




      69.75. B&B Investment Management’s use of the BABCOCK & BROWN

Marks is likely to cause consumer confusion, deception, or mistake as to the

source or origin of theB&B Investment Management’s goods and/or services.

      70.76. On information and belief, eachEach Defendant had knowledge of

the BABCOCK & BROWN Marks and BBAM Marks, as well as BBAM’s use of the

BABCOCK & BROWN Marks and BBAM Marks, prior to the respective

Defendant’s adoption and use of the BABCOCK & BROWN Marks, or their other

confusingly similar marks, based on Michael Dickey Morgan’s previous work

experience at Babcock & Brown LP, interactions with BBAM, and knowledge of

the industry.

      71.77. Defendants’ use of the BABCOCK & BROWN Marks and other

confusingly similar marks will cause BBAM to lose business opportunities and

damage BBAM’s reputation in the aircraft management and leasing industry.

      72.78. Defendants’ conduct has caused BBAM to suffer injuries, and

Defendants continue to engage in such conduct.

      73.79. Defendants will continue to infringe upon BBAM’s rights unless and

until enjoined by this Court. BBAM has been and is likely to continue to be

irreparably injured unless Defendants are enjoined. BBAM has no adequate

remedy at law.

                            THIRD CLAIM FOR RELIEF

   (Connecticut Common Law Trademark Infringement Against All Defendants)

      74.80. BBAM repeats and realleges the allegations set forth in paragraphs

1–7379 above, as though fully set forth herein.




                                       -36-
    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 42 of 138




      75.81. Defendants’ conduct constitutes trademark infringement under the

common law of Connecticut.

      76.82. BBAM’s use in commerce of the BABCOCK & BROWN Marks and

BBAM Marks is senior to Defendants’ and predates the formation dates of each

Defendant and the date that each Defendant first used the “B&B” or “Babcock &

Brown” names in commerce. BBAM began using the BABCOCK & BROWN

Marks in commerce when it was founded more than 30 years ago, the BABCOCK

& BROWN Marks have been in continuous use in the United States, and BBAM

continues to use the BABCOCK & BROWN Marks today. BBAM used the BBAM

Marks in commerce prior to Defendants’ use of the BABCOCK & BROWN Marks,

the BBAM Marks have been in continuous use, and BBAM continues to use the

BBAM Marks today.

      77.83. Defendant Burnham Sterling has attempted to register the

BURNHAM BABCOCK & BROWN mark, which is confusingly similar to the

BABCOCK & BROWN Marks and the BBAM Marks, and on information and belief

has used the mark in connection with investment banking, equipment leasing,

and investment management products and services. Burnham Sterling also uses

the BABCOCK & BROWN mark in commerceMarks in connection with investment

banking, equipmentaviation leasing, and investment management products and

and financing services. BBAM’s rights in the BABCOCK & BROWN Marks and

BBAM Marks predate Burnham Sterling’s first use of the BURNHAM BABCOCK &

BROWN mark and the BABCOCK & BROWN markMarks.

      78.84. Burnham Sterling’s use of the BURNHAM BABCOCK & BROWN mark




                                      -37-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 43 of 138




and BABCOCK & BROWN markMarks is likely to cause consumer confusion,

deception, or mistake as to the source or origin of the goods and/orBurnham

Sterling’s services.

      79.85. On information and belief, Defendant B&B Securities began

usinguses the BABCOCK & BROWN Marks in commerce in or around December

2019 in connection with its aircraft leasing and financing goods and services.

BBAM’s rights in the BABCOCK & BROWN Marks and BBAM Marks predate B&B

Securities’ founding and first use of the BABCOCK & BROWN Marks.

      80.86. B&B Securities’ use of the BABCOCK & BROWN Marks is likely to

cause consumer confusion, deception, or mistake as to the source or origin of

theB&B Securities’ goods and/or services.

      81.87. Defendant B&B LLC has used and registered the B&B LLC Marks,

which are confusingly similar to (or identical to) the BABCOCK & BROWN Marks

and BBAM Marks, in connection with investment banking, investment

management, and equipment leasing. BBAM’s rights in the BABCOCK & BROWN

Marks and BBAM Marks predate B&B LLC’s founding and first use of each of the

B&B LLC Marks.

      82.88. B&B LLC’s use of the B&B LLC Marks is likely to cause consumer

confusion, deception, or mistake as to the source or origin of theB&B LLC’s

goods and/or services.

      83.89. Defendant B&B Investment Management began usinguses the

BABCOCK & BROWN Marks in or around October 2018 in connection with its

investment management goods and services. BBAM’s rights in the BABCOCK &




                                       -38-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 44 of 138




BROWN Marks and BBAM Marks predate B&B Investment Management’s

founding and first use of the BABCOCK & BROWN Marks.

      84.90. B&B Investment Management’s use of the BABCOCK & BROWN

Marks is likely to cause consumer confusion, deception, or mistake as to the

source or origin of theB&B Investment Management’s goods and/or services.

      85.91. On information and belief, eachEach Defendant had knowledge of

the BABCOCK & BROWN Marks and BBAM Marks and, as well as BBAM’s use of

those marksthe BABCOCK & BROWN Marks and BBAM Marks, prior to the

respective Defendant’s adoption and use of the BABCOCK & BROWN Marks, or

their other confusingly similar marks, based on Michael Dickey Morgan’s

previous work experience at Babcock & Brown LP, interactions with BBAM, and

knowledge of the industry.

      86.92. Defendants’ use of the BABCOCK & BROWN Marks and other

confusingly similar marks will cause BBAM to lose business opportunities and

damage BBAM’s reputation in the aircraft management and leasing industry.

      87.93. Defendants’ conduct has caused BBAM to suffer injuries, and

Defendants continue to engage in such conduct.

      88.94. Defendants will continue to infringe upon BBAM’s rights unless and

until enjoined by this Court. BBAM has been and is likely to continue to be

irreparably injured unless Defendants are enjoined. BBAM has no adequate

remedy at law.




                                       -39-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 45 of 138




                           FOURTH CLAIM FOR RELIEF

       (False Advertising, 15 U.S.C. § 1125(a)(1)(B), Against All Defendants)

      89.95. BBAM repeats and realleges the allegations set forth in paragraphs

1–8894 above, as though fully set forth herein.

      90.96. Through use of the name “Babcock & Brown,” Defendants are falsely

and/or misleadingly representing that there is a continuation, sponsorship, or

affiliation between Defendants and their goods and services on the one hand and

Babcock & Brown LP and BBAM on the other hand where no such relationship

exists. Moreover by representing to consumers through advertising and

representations on its websites and social media pages that it is affiliated with

“Babcock & Brown” and,” that it offers the services “formerly offered by”

Babcock & Brown, and other similar statements in marketing materials

distributed to potential clients, Defendant Burnham Sterling is falsely and/or

misleadingly representing that there is a continuation, sponsorship, or affiliation

between Burnham Sterling and its goods and services on the one hand and

Babcock & Brown LP and BBAM on the other hand where no such relationship

exists. By doing so, Defendants are misrepresenting the nature, characteristics,

and/or qualities of their goods and services and either have deceived or have the

capacity to deceive a substantial segment of potential consumers in a way that is

likely to influence their purchasing decision.

      91.97. On information and belief, Defendants made these false and

misleading representations in order to take advantage of BBAM’s goodwill and

reputation in the aviation industry generally and specifically in the JOL financing




                                        -40-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 46 of 138




market.

      92.98. Defendants’ conduct has caused or is likely to cause BBAM to lose

business opportunities and damage BBAM’s reputation in the aircraft

management and leasing industry.

      93.99. Defendants will continue to falsely and misleadingly represent that

they are associated with BBAM and/or Babcock & Brown LP unless and until

enjoined by this Court. BBAM has been and is likely to continue to be irreparably

injured unless Defendants are enjoined. BBAM has no adequate remedy at law.

                           FIFTH CLAIM FOR RELIEF

      (State and Common Law Unfair Competition Against All Defendants)

      94.100.     BBAM repeats and realleges the allegations set forth in

paragraphs 1–9399 above, as though fully set forth herein.

      95.101.     The acts described above constitute unfair and deceptive acts

or practices in violation of Conn. Gen. Stat. §§ 42-110a-42-110q (“CUTPA”).

Defendants’ conduct is deceptive because a reasonable consumer in the relevant

market is likely to be misled by Defendants’ use of the BABCOCK & BROWN

Marks or confusingly similar marks and think that Defendants are associated with

BBAM. This confusion will cause BBAM to lose business opportunities and

damage BBAM’s reputation in the aircraft management and leasing industry.

Defendants’ conduct is unfair because it offends the public policy established by

15 U.S.C. §§ 1114(1) and 1125(a) and Connecticut’s trademark infringement

common law.

      96.102.     The acts described above also constitute unfair competition in




                                       -41-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 47 of 138




violation of Connecticut’s common law. Defendants’ use of marks and

tradenames identical and confusingly similar to the BABCOCK & BROWN Marks

and BBAM Marks will cause BBAM to lose business opportunities and damage

BBAM’s reputation in the aircraft management and leasing industry. Defendants’

false claims of affiliation will further cause BBAM to lose business opportunities

and damage BBAM’s reputation in the aircraft management and leasing industry.

      97.103.      Defendants’ conduct has caused BBAM to suffer injuries, and

Defendants continue to engage in such conduct. BBAM is entitled to recover

damages, including actual and punitive damages, costs, attorneys’ fees, and the

disgorgement of Defendants’ profits under Conn. Gen. Stat. § 42-110g.

      98.104.      Defendants will continue to infringe upon BBAM’s rights

unless and until enjoined by this Court. BBAM has been and is likely to continue

to be irreparably injured unless Defendants are enjoined. BBAM has no adequate

remedy at law.

                            SIXTH CLAIM FOR RELIEF

  (Cancellation of U.S. Trademark Registration No. 5,851,855 Under 15 U.S.C. §§

                 1052(d), 1064, 1119 Against Defendant B&B LLC)

      99.105.      BBAM repeats and realleges the allegations set forth in

paragraphs 1–98104 above, as though fully set forth herein.

      100.106.     Cancellation of U.S. Registration No. 5,851,855 of the “B & B”

word mark (the “5,851,855 Registration”) is warranted, appropriate, and

necessary because the mark is likely, when used on or in connection with the

goods and services of Defendant B&B LLC, to cause confusion, cause mistake,




                                       -42-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 48 of 138




or to deceive with respect to BBAM’s senior marks.

      107.   BBAM pleads in the alternative pursuant to Federal Rules of Civil

Procedure 8(d)(2)–(3) that cancellation of the 5,851,855 Registration is also

warranted because the registration is void. Neither the registrant B&B LLC, nor

any other party whose use would inure to the registrant’s benefit, rendered

investment management services under the B & B mark in commerce prior to the

statutory deadline in 15 U.S.C. § 1051(d) for B&B LLC to file a statement of use.

      101.108.      BBAM has standing to seek to cancel the “B & B” mark

because B&B LLC’sthe mark is confusingly similar to one or more of BBAM’s

trademarks and use of the mark by B&B LLC constitutes trademark infringement

of BBAM’s senior marks and its use is causing or will cause harm to BBAM and

its interest in its marks.

      102.109.      Pursuant to 15 U.S.C. §§ 1052, 1064, and 1119, BBAM requests

an order of this Court cancelling the 5,851,855 Registration.

                             SEVENTH CLAIM FOR RELIEF

  (Cancellation of U.S. Trademark Registration No. 6,037,338 Under 15 U.S.C. §§

                  1052(d), 1064, 1119 Against Defendant B&B LLC)

      103.110.      BBAM repeats and realleges the allegations set forth in

paragraphs 1–102109 above, as though fully set forth herein.

      104.111.      Cancellation of U.S. Registration No. 6,037,338 of the “B&B”

word mark (the “6,037,338 Registration”) is warranted, appropriate, and

necessary because the mark is likely, when used on or in connection with the

goods and services of Defendant B&B LLC, to cause confusion, cause mistake,




                                        -43-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 49 of 138




or to deceive with respect to BBAM’s senior marks.

      112.   BBAM pleads in the alternative pursuant to Federal Rules of Civil

Procedure 8(d)(2)–(3) that cancellation of the 6,037,338 Registration is also

warranted because the registration is void. Neither the registrant B&B LLC nor

any other party whose use would inure to the registrant’s benefit rendered the

services listed in the application associated with the 6,037,338 Registration under

the B&B mark in commerce prior to the statutory deadline in 15 U.S.C. § 1051(d)

for B&B LLC to file a statement of use.

      105.113.     BBAM has standing to seek to cancel the “B&B” mark because

B&B LLC’sthe mark is confusingly similar to one or more of BBAM’s trademarks

and use of the mark by B&B LLC constitutes trademark infringement of BBAM’s

senior marks and its use is causing or will cause harm to BBAM and its interest in

its marks.

      106.114.     Pursuant to 15 U.S.C. §§ 1052, 1064, and 1119, BBAM requests

an order of this Court cancelling the 6,037,338 Registration.

                           EIGHTH CLAIM FOR RELIEF

  (Cancellation of U.S. Trademark Registration No. 5,643,846 Under 15 U.S.C. §§

                 1052(d), 1064, 1119 Against Defendant B&B LLC)

      107.115.     BBAM repeats and realleges the allegations set forth in

paragraphs 1–106114 above, as though fully set forth herein.

      108.116.     Cancellation of U.S. Registration No. 5,643,846 of the

BABCOCK & BROWN word mark (the “5,643,846 Registration”) is warranted,

appropriate, and necessary because the mark is likely, when used on or in




                                          -44-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 50 of 138




connection with the goods and services of Defendant B&B LLC, to cause

confusion, cause mistake, or to deceive with respect to BBAM’s senior marks.

      117.   BBAM pleads in the alternative pursuant to Federal Rules of Civil

Procedure 8(d)(2)–(3) that cancellation of the 5,643,846 Registration is also

warranted because the registration is void. Neither the registrant B&B LLC nor

any other party whose use would inure to the registrant’s benefit rendered

investment management services under the BABCOCK & BROWN mark in

commerce prior to the statutory deadline in 15 U.S.C. § 1051(d) for B&B LLC to

file a statement of use.

      109.118.      BBAM has standing to seek to cancel the “Babcock &

Brown”BABCOCK & BROWN mark because B&B LLC’sthe mark is confusingly

similar to one or more of BBAM’s trademarks and use of the mark by B&B LLC

constitutes trademark infringement of BBAM’s senior marks and its use is

causing or will cause harm to BBAM and its interest in its marks.

      110.119.      Pursuant to 15 U.S.C. §§ 1052, 1064, and 1119, BBAM requests

an order of this Court cancelling the 5,643,846 Registration.

                            NINTH CLAIM FOR RELIEF

  (Cancellation of U.S. Trademark Registration No. 5,769,928 under 15 U.S.C. §§

                 1052(d), 1064, 1119 Against Defendant B&B LLC)

      111.120.      BBAM repeats and realleges the allegations set forth in

paragraphs 1–110119 above, as though fully set forth herein.

      112.121.      Cancellation of U.S. Registration No. 5,769,928 of the

BABCOCK & BROWN word mark (the “5,769,928 Registration”) is warranted,




                                        -45-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 51 of 138




appropriate, and necessary because the mark is likely, when used on or in

connection with the goods and services of Defendant B&B LLC, to cause

confusion, cause mistake, or to deceive with respect to BBAM’s senior marks.

      122.   BBAM pleads in the alternative pursuant to Federal Rules of Civil

Procedure 8(d)(2)–(3) that cancellation of the 5,769,928 Registration is also

warranted because the registration is void. Neither the registrant B&B LLC nor

any other party whose use would inure to the registrant’s benefit rendered the

services listed in the application associated with the 5,769,928 Registration under

the BABCOCK & BROWN mark in commerce prior to the statutory deadline in 15

U.S.C. § 1051(d) for B&B LLC to file a statement of use.

      113.123.     BBAM has standing to seek to cancel the BABCOCK &

BROWN mark because B&B LLC’sthe mark is confusingly similar to one or more

of BBAM’s trademarks and use of the mark by B&B LLC constitutes trademark

infringement of BBAM’s senior marks and its use is causing or will cause harm to

BBAM and its interest in its marks.

      114.124.     Pursuant to 15 U.S.C. §§ 1052, 1064, and 1119, BBAM requests

an order of this Court cancelling the 5,769,928 Registration.

                            TENTH CLAIM FOR RELIEF

(Refusal of U.S. Trademark Application No. 86/874,191 under 15 U.S.C. §§ 1052(d),

        1119 Against Defendant Burnham SterlingBabcock & Brown LLC)

      115.125.     BBAM repeats and realleges the allegations set forth in

paragraphs 1–114124 above, as though fully set forth herein.

      116.126.     Refusal of U.S. Application No. 86/874,191 of the BURNHAM




                                        -46-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 52 of 138




BABCOCK & BROWN word mark is warranted, appropriate, and necessary

because the mark is likely, when used on or in connection with the goods and

services of Defendant Burnham Sterling, to cause confusion, cause mistake, or to

deceive with respect to BBAM’s senior marks.

      127.   BBAM pleads in the alternative pursuant to Federal Rules of Civil

Procedure 8(d)(2)–(3) that refusal of U.S. Application No. 86/874,191 is warranted,

appropriate, and necessary because the original applicant, Burnham Sterling,

purported to assign its entire interest in the BURNHAM BABCOCK & BROWN

mark and pending intent-to-use application No. 86/874,191 to Defendant B&B

LLC. The assignment legally invalidated the pending application pursuant to

15 U.S.C. § 1060(a)(1) because no portion of Burnham Sterling’s business was in

actuality conveyed in the assignment.

      117.128.     BBAM has standing to seek to cancelseek refusal of the

application to register the BURNHAM BABCOCK & BROWN mark because BBAM

has senior trademark rights in the BABCOCK & BROWN Marks and Burnham

Sterling’s unauthorized use,B&B LLC’s application, and attempted registration of

the infringing BURNHAM BABCOCK & BROWN mark is likely to cause consumer

confusion as to the source of Burnham Sterling’sB&B LLC’s goods and services

and BBAM’swith BBAM.

      118.129.     Pursuant to 15 U.S.C. §§ 1052 and 1119, BBAM requests an

order of this Court refusing registration of U.S. Application No. 86/874,191.

                               PRAYER FOR RELIEF

      BBAM prays for the following relief:




                                        -47-
Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 53 of 138




 A.   That the Court enter judgment in favor of BBAM and against

      Defendants on all claims for relief;

 B.   That the Court permanently enjoin Defendants, their officers and

      directors, employees, agents, representatives, successors and

      assigns, and all persons or entities acting in concert or in

      participation with them from using the BABCOCK & BROWN Marks

      or any mark confusingly similar thereto, and from making false or

      misleading advertisements suggesting sponsorship by or affiliation

      with BBAM or Babcock & Brown LP;

 C.   That the Court direct Defendants to recall from any and all channels

      of trade or distribution all products, advertising, and promotional

      material distributed by Defendants which bear or constitute the

      infringing marks;

 D.   That the Court direct Defendants to deliver up for destruction or

      other disposition, within 30 days of the entry of final judgment

      herein, any and all advertising or other material in their possession

      which bear or constitute the infringing marks;

 E.   That the Court direct Defendants to file with the Court and serve on

      counsel for BBAM, within 30 days after entry of any injunction issued

      by the Court in this action, a sworn written statement as provided in

      15 U.S.C. § 1116(a);

 F.   That the Court direct the USPTO to cancel U.S. Trademark

      Registration Nos. 5,851,855, 6,037,338, 5,643,846, and 5,769,928;




                                 -48-
Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 54 of 138




 G.         That the Court direct the USPTO to refuse registration of U.S.

            Application No. 86/874,191;

 H.         That the Court find that this is an exceptional case pursuant to 15

            U.S.C. § 1117(a);

 I.         That the Court order an accounting and order Defendants to pay over

            to BBAM:

       i.         All monetary gains, profits, and advantages derived by

                  Defendants from the acts complained of herein;

       ii.        Up to treble the amount, but no less than the actual amount, of

                  damages sustained by BBAM;

      iii.        Punitive and exemplary damages as provided by law,

                  including treble damages as authorized pursuant to 15 U.S.C.

                  § 1117(a);

      iv.         BBAM’s costs and disbursements in this action, including

                  reasonable attorneys’ fees and pre-judgment and post-

                  judgment interest; and

       v.         Award BBAM any other or further relief that the Court deems

                  just or appropriate; and

 J.         That the Court award compensatory damages, punitive damages,

            disgorgement, costs, and attorneys’ fees pursuant to Connecticut

            General Statutes § 42-110g in connection with Defendants’ CUTPA

            violations.

                           DEMAND FOR JURY TRIAL




                                       -49-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 55 of 138




      BBAM demands a trial by jury.

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                                      -50-
       Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 56 of 138




Dated:        Redwood City, California

        September 25, 2020 September 2,
2021


                                            Respectfully submitted,

                                            Orrick, Herrington & Sutcliffe LLP



                                            By: /s/ Diana M. Rutowski
                                               Diana M. Rutowski

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                                         -51-
Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 57 of 138




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                                      LP and BBAM US LP




                               -52-
Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 58 of 138




                       Exhibit B
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 59 of 138




                           UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT



BBAM AIRCRAFT MANAGEMENT LP                   Case No. 20-cv-01056 (VLB)
and BBAM US LP,

                   Plaintiffs,

             vs.                              DEMAND FOR JURY TRIAL

BABCOCK & BROWN LLC, BURNHAM                  Original Filing Date: July 27, 2020
STERLING & COMPANY LLC,
BABCOCK & BROWN SECURITIES
LLC, BABCOCK & BROWN
INVESTMENT MANAGEMENT LLC,

                   Defendants.


           SECOND AMENDED AND FIRST SUPPLEMENTAL COMPLAINT

      Plaintiffs BBAM Aircraft Management LP and BBAM US LP (collectively,

“Plaintiffs” or “BBAM”) bring this action against Defendants Babcock & Brown

LLC (“B&B LLC”), Burnham Sterling & Company LLC (“Burnham Sterling”),

Babcock & Brown Securities LLC (“B&B Securities”), and Babcock & Brown

Investment Management (“B&B Investment Management”) (collectively,

“Defendants”). BBAM hereby alleges as follows:

                                    NATURE OF ACTION

      1.     This is a civil action seeking relief for Defendants’ intentional and

willful infringement of BBAM’s (short for “Babcock & Brown Aircraft

Management”) trademark rights in the BABCOCK & BROWN, BBAM, and related

trademarks; false advertising; and violation of state trademark and unfair

competition law. BBAM is an aircraft leasing and asset management company
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 60 of 138




that was founded more than 30 years ago, incorporated as an entity in 1992, and

was previously owned by Babcock & Brown LP, an international investment

advisory firm. In 2010, Babcock & Brown LP went out of business, but BBAM did

not—it was purchased by its management team and continued operations.1

BBAM has continually conducted business for more than 30 years. Today, it is

the third largest manager of leased commercial jet aircraft in the world and the

largest dedicated manager of third-party capital in the sector, with more than

$28.9 billion of aircraft assets under management. BBAM built its reputation with

airlines, investors, lenders, and other market participants as a leading aircraft

leasing and asset management company over the course of more than 30 years in

business. BBAM owns incontestable federal registrations for the BBAM mark

(Reg. No. 2,424,139) and BBAM logo (             ) (Reg. No. 3,925,643) (together,

the “BBAM Marks”). In addition, BBAM is widely recognized in the industry by

the BABCOCK & BROWN mark and the abbreviated B&B mark (one or both

collectively, the “BABCOCK & BROWN Marks”) among its airline clients and its

target investor market, and it has continuously used the marks for more than 30

years. The aviation industry, including BBAM’s target audience of airlines and

investors in leased commercial jet aircraft, understands that BBAM is an

abbreviation of “Babcock & Brown Aircraft Management” and associates the

BABCOCK & BROWN mark and the abbreviated BBAM and B&B marks with



1 This change in ownership is sometimes referred to as a “buyout” because
BBAM’s management team at the time “bought out” Babcock & Brown LP’s
interest in BBAM and acquired ownership of BBAM and BBAM’s affiliated entities,
including Babcock & Brown’s aircraft financing and leasing business.



                                         -2-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 61 of 138




BBAM.

      2.    After leaving Babcock & Brown LP in or around 2010, former

employee Michael Dickey Morgan started Burnham Sterling, offering financial

advisory and investment management services to airlines. As revealed through

discovery in this action, Burnham Sterling and several of Morgan’s other entities

(named as Defendants) use BBAM’s BABCOCK & BROWN and B&B word marks

to associate themselves with, and to trade off of, BBAM’s long-standing

reputation and goodwill in the industry. Defendants’ false and infringing uses of

the BABCOCK & BROWN Marks are likely to lead to consumer confusion and to

cause mistake in the airline and aircraft financing industries, to harm BBAM’s

reputation, and to create a significant risk of confusion. Defendants’ actions will

divert business opportunities that would have otherwise gone to BBAM.

                                   THE PARTIES

      3.    Plaintiff BBAM Aircraft Management LP is a Delaware limited

partnership, with an address at 50 California Street, 14th Floor, San Francisco, CA

94111.

      4.    Plaintiff BBAM US LP is a Delaware limited partnership, with an

address at 50 California Street, 14th Floor, San Francisco, CA 94111.

      5.    Defendant Babcock & Brown LLC is a Delaware limited liability

company, with an address at 29 River Road, Suite 102, Cos Cob, CT 06807.

      6.    Defendant Burnham Sterling & Company LLC is a Connecticut

limited liability company, with an address at 29 River Road, Suite 102, Cos Cob,

CT 06807.




                                        -3-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 62 of 138




      7.     Defendant Babcock & Brown Securities LLC is a Connecticut limited

liability company, with an address at 29 River Road, Suite 102, Cos Cob, CT

06807.

      8.     Defendant Babcock & Brown Investment Management LLC is a

Connecticut limited liability company, with an address at 29 River Road, Suite

102, Cos Cob, CT 06807.

                            JURISDICTION AND VENUE

      9.     BBAM brings this action under the Lanham Act, 15 U.S.C. §§ 1114,

1125, Connecticut state law, and the common law.

      10.    This Court has subject matter jurisdiction over these claims

pursuant to 28 U.S.C. §§ 1331 and 1338 and 15 U.S.C. § 1121, as this is an action

arising under the laws of the United States and relating to trademarks. This Court

has both original and supplemental jurisdiction over the related state law claims

pursuant to 28 U.S.C. §§ 1338(b) and 1367, as those claims are so related to the

Lanham Act claims that they form part of the same case or controversy as the

federal claims herein.

      11.    The Court has personal jurisdiction over Defendants because all

Defendants operate from principal places of business in Connecticut and three of

the Defendants are Connecticut limited liability companies.

      12.    Venue is proper in this District under 28 U.S.C. § 1391 because

Defendants reside in Connecticut and in this District, a substantial part of the

events giving rise to BBAM’s claims occurred in this District, and Defendants are

subject to the Court’s personal jurisdiction because they maintain their principal




                                         -4-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 63 of 138




places of business in this District.

                       BBAM’S BUSINESS & TRADEMARKS

      13.    BBAM operates one of the largest and most successful aircraft

leasing companies in the world. Aircraft leasing is the leading form of equipment

finance for the global airline industry, with the share of the global fleet on an

operating lease reaching 45% in 2019. Under an aircraft lease, an airline is

granted the right to use an aircraft for the lease duration in return for contractual

periodic lease payments to the aircraft owner. The airline bears all costs of

operating and maintaining the aircraft during the lease term, and the aircraft

owner, which bears the risks and rewards associated with its investment in the

aircraft, monitors the airline’s use and maintenance of the aircraft to ensure

compliance with legal and contractual requirements. The majority of aircraft

leasing transactions are sale-and-leaseback transactions between aircraft lessors

and airlines (2019: $19.4 billion) and direct purchases by aircraft lessors from the

Boeing Company and Airbus Group of aircraft to be placed on lease with airlines

(2019: $23.7 billion). Aircraft lessors also purchase and sell aircraft that are

already under lease to and from other aircraft lessors (2019: $20.9 billion) in order

to actively manage their portfolios of leased and managed aircraft.

      14.    BBAM sources, arranges, and manages aircraft leasing transactions

that meet the needs of its airline clients and BBAM’s investors. BBAM’s business

includes services related to aircraft leasing and financing, such as: (1) BBAM

offers new and used commercial jet aircraft on lease as a form of aviation finance

to its global network of airline customers; and (2) BBAM provides investors in




                                          -5-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 64 of 138




leased commercial jet aircraft the full range of asset management services

necessary to manage an aircraft portfolio. As of March 31, 2020, BBAM managed

530 aircraft that are on lease to more than 90 airlines around the world. Over its

30-year operating history, BBAM has originated more than 1,000 individual

aircraft investments, remarketed or sold more than 1,250 aircraft, and sourced

more than $20 billion of financing for these and similar transactions. BBAM is a

global leader in the aircraft leasing and asset management industry, and along

with its joint-marketing partner, Japan-based Nomura Babcock & Brown Co., Ltd.

(“Nomura Babcock & Brown”), is well known as the market leader in arranging

Japanese operating lease (“JOL”) financing for airline clients in the United States

and around the world. BBAM counts among its clients the major U.S. airlines

Delta Air Lines, American Airlines, and Alaska Airlines, as well as other airlines

doing regular business in the United States, including Aer Lingus, Air France,

British Airways, El Al Israel Airlines, LATAM Airlines Group, Virgin Atlantic, and

many more.

      15.    BBAM was originally operated as a division of Babcock & Brown LP,

an international investment advisory firm, from its inception in late 1989 or early

1990 until 2010. In 1992, BBAM (then Babcock & Brown Aircraft Management

Inc.) was incorporated as the operating entity for that business. In 1999, BBAM

converted to a limited liability company and changed its name to Babcock &

Brown Aircraft Management LLC. In 2010, BBAM’s ownership changed when its

management acquired Babcock & Brown’s aircraft leasing business, including

Babcock & Brown Aircraft Management LLC, and BBAM subsequently converted




                                         -6-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 65 of 138




to a limited partnership and changed its corporate name to BBAM Aircraft

Management LP. BBAM’s business has operated continuously in the aircraft

financing and leasing field for more than 30 years.

      16.   Through the 2010 transaction, BBAM’s management team acquired

ownership of the entire aviation business of Babcock & Brown and all assets of

the Babcock & Brown Aircraft Management division, including BBAM, BBAM’s

then existing leases and asset management relationships with major airlines,

BBAM’s exclusive joint marketing relationship with Nomura Babcock & Brown,

BBAM’s current employment contracts and relationships, BBAM’s physical

assets, and BBAM’s web domains, including www.bbam.us,

www.babcockbrownair.com, and www.bbam.com. The 2010 transaction reflected

a change in ownership—BBAM continued as the same entity with the same

business and BBAM’s goodwill and trademark rights were maintained as property

of the company. Babcock & Brown LP also agreed that BBAM (then named

Babcock & Brown Aircraft Management LLC) would have exclusive use of the

Babcock & Brown name in the aviation field. It agreed not to “license or grant” to

any other person “the right to use, the name ‘Babcock & Brown’ in connection

with any aviation related activities or business,” thus preserving the status quo

because BBAM was the only operational entity that had developed rights in the

BABCOCK & BROWN Marks in that field. Further, BBAM and Babcock & Brown

LP agreed that should any other rights in the Babcock & Brown name ever be put

up for sale, BBAM would have the right of first refusal to purchase the name. In

short, BBAM maintained the rights it had developed in the BABCOCK & BROWN




                                        -7-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 66 of 138




Marks in the aviation field, and the parties foreclosed the possibility that any

other rights in the BABCOCK & BROWN name would be assigned to a third party

absent notice to BBAM and an opportunity for BBAM to first purchase those

rights.

      17.    BBAM owns an incontestable federal registration in the BBAM word

mark, Reg. No. 2,424,139, covering “lease business management, purchasing

agent and commercial information agency, concerning leased assets, namely

aircrafts” in International Class 35, registered January 23, 2001. BBAM also owns

an incontestable federal registration in the BBAM logo (             ), Reg. No.

3,925,643, covering “business management, purchasing agents and commercial

information in the field of aircrafts” in International Class 35 and “leasing of

aircrafts” in International Class 39, registered March 1, 2011. True and correct

copies of both registrations are attached as Exhibit A. BBAM has used the BBAM

mark in commerce since at least 1999 and the BBAM logo since at least 2010.

      18.    With respect to the BABCOCK & BROWN Marks, BBAM has used

them in interstate commerce in connection with offering BBAM’s services

throughout the United States and the world continuously for more than 30 years.

BBAM thus owns common-law trademark rights in the BABCOCK & BROWN

Marks throughout the United States. Since BBAM changed ownership in 2010, it

has continuously conducted business under the Babcock & Brown name directly,

through its subsidiary and related companies, and via its exclusive joint-

marketing partnership with the Japan-based Nomura Babcock & Brown. As part

of the partnership, BBAM markets JOL services under the BABCOCK & BROWN




                                         -8-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 67 of 138




mark in the United States.

      19.   Additionally, BBAM’s website touts its long history and use of the

BABCOCK & BROWN Marks:

            (a)    The “History of Superior Aircraft Management and Beyond”

(www.bbam.com/about-bbam/history) identifies BBAM’s formation as a division

of Babcock & Brown LP;

            (b)    The Ownership page (www.bbam.com/about-bbam/ownership)

describes BBAM’s creation as a division of Babcock & Brown LP and the 2010

change in ownership; and

            (c)    The Management Team Overview page (www.bbam.com/about-

bbam/management-team/overview) describes continuity of the company’s

management, “in place since the company was founded in 1990 as a division of

Babcock & Brown.”




                                       -9-
    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 68 of 138




     20.   The following images are examples of BBAM’s use of the BBAM and

BABCOCK & BROWN marks on BBAM’s website:




                                   -10-
    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 69 of 138




      21.   BBAM has also solicited investment and funding using the

BABCOCK & BROWN Marks, including advertising its operation under the

BABCOCK & BROWN Marks going back more than 30 years and its history as a

division of Babcock & Brown LP. The continuity of BBAM’s business when it

operated as a division of Babcock & Brown, called Babcock & Brown Aircraft

Management, through to BBAM’s present operations is a key component of

BBAM’s marketing strategy.




                                     -11-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 70 of 138




      22.    BBAM also has used the BABCOCK & BROWN Marks through an

affiliated company, Fly Leasing Limited (“Fly”). Fly was a NYSE-listed aircraft

lessor with a portfolio of 113 aircraft that was exclusively managed by BBAM. Fly

went public in 2007 under the name Babcock & Brown Air Ltd. Through its

management of Fly until August 2021, including participation in Fly’s governance,

BBAM controlled the quality of the goods and services to which Fly and its

affiliates applied the BABCOCK & BROWN mark.

      23.    In or around the beginning of August 2021, Fly was acquired by

Carlyle Aviation Partners (“Carlyle”) and delisted as a public company. BBAM

continues to control Fly’s use of the BABCOCK & BROWN Marks through a

license agreement with Fly. In connection with the acquisition, BBAM and Fly

entered into a license whereby Fly was granted a worldwide, non-exclusive, non-

assignable, non-sublicensable, royalty-free license to use the BABCOCK &

BROWN and B&B marks in the same manner that Fly historically used the marks

in connection with activities conducted by its subsidiaries. The license sets forth

quality control requirements for Fly as licensee and maintains BBAM’s right to

inspect and maintain quality control over Fly’s use of the marks. Also in

connection with the acquisition, BBAM, Fly, Carlyle and certain of their affiliates

entered into a sub-servicing agreement, pursuant to which BBAM and its affiliates

agreed to delegate the performance of certain services under their servicing

agreements with Fly to affiliates of Carlyle. Under the sub-servicing agreement,

BBAM remains in place as servicer for a period of time following the closing of

the transaction, providing BBAM with continued direct involvement and oversight




                                        -12-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 71 of 138




into Fly’s use of the marks.

      24.       Where Fly uses or used the BABCOCK & BROWN Marks, it is with

the authorization and accrues to the benefit of BBAM. Fly holds a number of

aircraft leasing entities and investment vehicles that operate under the Babcock

& Brown or B&B names, including:

               Babcock & Brown Air Funding I Limited

               Babcock & Brown Air Acquisition I Limited

               B&B Air Funding 888 Leasing Limited

               B&B Air Funding 27974 Leasing Limited

               B&B Air Funding 28595 Leasing Limited

               B&B Air Funding 29052 Leasing Limited

               B&B Air Funding 29330 Leasing Limited

               B&B Air Funding 30785 Leasing Limited

               B&B Air Acquisition 3151 Leasing Limited

               B&B Air Acquisition 3237 Leasing Limited

               B&B Air Acquisition 34953 Leasing Limited

               B&B Air Acquisition 403 Leasing Limited

               B&B Air Acquisition 34956 Leasing Limited

      25.       For example, Babcock & Brown Air Funding I Limited used the

BABCOCK & BROWN Marks to attract debt investors and sell corporate debt.

The initial offering was made under the BABCOCK & BROWN mark and quarterly

and annual reports were issued to investors and debt ratings agencies using the

BABCOCK & BROWN mark.




                                         -13-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 72 of 138




      26.    Other subsidiary entities of Fly held leased aircraft, lease those

aircraft to airlines, and provide related aircraft leasing services. Leasing entities’

names include the BABCOCK & BROWN Marks in order to signify to the

lessor/customer that the source of the aircraft lease is associated with and

affiliated with Fly and BBAM.

      27.    BBAM also uses the BABCOCK & BROWN Marks through its

exclusive co-marketing partnership with Nomura Babcock & Brown. Nomura

Babcock & Brown, an investment firm focusing on international aircraft leasing,

was originally formed as a joint venture in 1986 between Nomura Securities Co.,

Ltd., and Babcock & Brown LP. In the 1990s, the relationship shifted into an

exclusive joint-marketing agreement whereby BBAM sources, arranges, and

manages investments in commercial jet aircraft on operating leases to airlines for

Nomura Babcock & Brown’s clients seeking to invest in commercial jet aircraft

JOL and related products. JOL financing products and services have been

marketed worldwide jointly under the BBAM and Nomura Babcock & Brown

names, including in the United States, continuously since the Nomura Babcock &

Brown relationship began.




                                         -14-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 73 of 138




      28.   BBAM markets its partnership with Nomura Babcock & Brown and

uses the BABCOCK & BROWN mark in that context on its website:




      29.   BBAM is well known as the market leader, in partnership with

Nomura Babcock & Brown, in arranging JOL financing for airline clients in the

United States and around the world. The Nomura Babcock & Brown joint-

marketing agreement was assigned, with Nomura Babcock & Brown’s consent,

by Babcock & Brown LP to BBAM in 2008. The exclusive joint-marketing

agreement between BBAM and Nomura Babcock & Brown provides that they

“shall jointly offer Japanese Leveraged Leases, Japanese Operating Leases,” and

other financial products that the parties agree to develop or market jointly. The



                                       -15-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 74 of 138




agreement further states that Nomura Babcock & Brown is entitled to use the

Babcock & Brown name as part of its legal name and “may use the name

‘Babcock & Brown’ or ‘B&B’ in connection with [joint transactions].” Nomura

Babcock & Brown can only use the BABCOCK & BROWN mark in the United

States if it is engaged in joint business with BBAM. BBAM has the right to

terminate the agreement, and in the event of termination, Nomura Babcock &

Brown must change its corporate name and cease using BABCOCK & BROWN.

Where Nomura Babcock & Brown uses BABCOCK & BROWN, it refers to the

BBAM portion of the joint-marketing partnership and is used with the

authorization of and accrues to the benefit of BBAM.

      30.    Under the joint-marketing agreement, BBAM and Nomura Babcock &

Brown jointly market JOL financial products to airlines both in the United States

and around the world. JOL financing is highly sought after by airlines because

(1) it offers a very inexpensive form of fleet financing (driven in part by the

favorable tax treatment accorded aircraft investments in Japan and in part by the

prevailing low interest rate environment); and (2) certain JOL financing structures

enable airlines to repurchase the aircraft at lease end (so called Japanese

Operating Lease with Call Option, or “JOLCO,” transactions). Although JOL

financing is highly attractive to airlines, the availability of such financing is

constrained by limited total demand on the part of Japanese investors, their

strong preference for only the most stable and prominent airlines as lessees, and

other factors. The high standards required to obtain JOL financing and the

complexity of the related financing structures means that relationships,




                                          -16-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 75 of 138




reputation, and experience are critical in sourcing and arranging such financing

with airlines and investors. Through BBAM’s investment in the Nomura Babcock

& Brown relationship and continuous marketing activities using the BABCOCK &

BROWN mark, airlines aircraft manufacturers, and investors in the United States,

including Delta Air Lines, American Airlines, Alaska Airlines, and the Boeing

Company, and around the world have come to associate the BABCOCK &

BROWN mark with BBAM’s high quality aircraft leasing and asset management

businesses generally and particularly with BBAM’s expertise in the JOL financing

market. In other words, BBAM markets and sells JOL-related products and

services under the BABCOCK & BROWN Marks to U.S. airlines and has been

doing this business continuously since the 1990s.

DEFENDANTS’ UNAUTHORIZED REGISTRATION AND USE OF THE BABCOCK &
                        BROWN MARKS

      31.   Michael Dickey Morgan, a former Babcock & Brown employee, is

directly or indirectly the sole owner and manager of each Defendant. Morgan’s

prior role at Babcock & Brown LP was in the BBAM aviation business, but they

parted ways after BBAM changed ownership in 2010. Morgan acquired no rights

to the BABCOCK & BROWN Marks. Shortly after Babcock & Brown LP ceased

operations, Morgan launched Defendant Burnham Sterling, a business that

competes directly with BBAM in the aviation industry with clients such as

American Airlines and other well-known airlines in the United States and around

the world. Discovery has shown that Burnham Sterling used one or more of the

BABCOCK & BROWN Marks in commerce in connection with its services in the

aircraft leasing and asset management industries. Discovery has also shown that




                                       -17-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 76 of 138




Defendant Babcock & Brown Securities has used one or more of the BABCOCK &

BROWN Marks in connection with the offering of and sale of services in the

aircraft leasing and asset management industries since July 2020.




                                                                    Defendants’

uses of the BABCOCK & BROWN Marks are intentional and willful attempts to

trade off of the goodwill and reputation associated with BBAM in the aviation

industry generally and specifically in the JOL financing market, where Defendant

Burnham Sterling actively competes against BBAM.

      Defendant Burnham Sterling

      32.    Defendant Burnham Sterling was formed in or around May 2010 by

Michael Dickey Morgan with the assistance of John Morello, two former

employees at Babcock & Brown LP. Burnham Sterling is an aircraft advisory

company that offers a range of services, including aircraft leasing, financial

analysis, and leasing portfolio management services.

      33.    On January 13, 2016, Burnham Sterling filed U.S. Trademark

Application Serial No. 86/874,191 for the BURNHAM BABCOCK & BROWN word

mark in connection with “investment banking; financial consultation; financial

analysis; capital investment and private equity fund management; and financial

advisory services in the fields of asset-backed financings, project financings,




                                        -18-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 77 of 138




leveraged leases, sale leasebacks, portfolios of leased or financed assets,

secured debt, tax-advantaged financings; financial advisory services in the fields

of financing equipment purchasing, financing equipment leasing, and financing

equipment sales; investment management” in International Class 36.




      34.   Burnham Sterling uses the BABCOCK & BROWN Marks in marketing

materials and, for example, on its homepage (www.burnhamsterling.com/), as

shown below:




                                       -19-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 78 of 138




      35.    BBAM’s use of the BABCOCK & BROWN Marks in commerce

predates Burnham Sterling’s application to register and use of BURNHAM

BABCOCK & BROWN and use of BABCOCK & BROWN.

      36.    Burnham Sterling also makes false or misleading statements

regarding its connection to and affiliation with Babcock & Brown LP. As

examples, on its Facebook and LinkedIn pages Burnham Sterling advertises that

some of its employees had prior employment with “Babcock & Brown,” and

claims that, “The traditional aircraft advisory activities formerly offered by

Babcock are now offered by Burnham Sterling.” In marketing materials, Burnham

Sterling makes express, literally false claims of affiliation or continuation with

Babcock & Brown and/or BBAM, often referring to the two entities

interchangeably. Burnham Sterling’s statements falsely claim a continuation of

business from Babcock & Brown LP, or at the least are likely to mislead relevant

consumers into believing that there is a continuation, sponsorship, or affiliation

between Babcock & Brown LP and Burnham Sterling where no such relationship

exists. To the contrary, BBAM is the continuation of the business associated

with Babcock & Brown LP in the aircraft financing and aircraft asset-management

field. For this reason, Burnham Sterling’s statements are likely to mislead

consumers into believing there is a connection, sponsorship, or affiliation

between Burnham Sterling and BBAM where none exists.

      Defendant B&B Securities

      37.    Defendant B&B Securities was formed in or around September 2013

under the name Burnham Sterling Securities LLC. Burnham Sterling Securities




                                         -20-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 79 of 138




LLC changed its name to Babcock & Brown Securities LLC in or around

December 2019. B&B Securities is a registered broker-dealer under the

Securities and Exchange Act of 1934 and is approved by the Financial Industry

Regulatory Authority (“FINRA”) to engage in the private placement of securities,

to act as a broker-dealer in selling interests in unregistered private investment

funds, and to engage in mergers and acquisitions in an advisory capacity.

      38.    Discovery has shown that B&B Securities has used the BABCOCK &

BROWN Marks in commerce in connection with its aircraft financing services.

      39.    BBAM’s use of the BABCOCK & BROWN Marks in commerce

predates B&B Securities’ use of BABCOCK & BROWN.

      Defendant B&B LLC

      40.    Shortly before this litigation was filed, BBAM became aware that

Defendant B&B LLC was formed by Michael Dickey Morgan in or around

November 2014.

      41.    BBAM became aware shortly before this litigation was filed of the

fact that in 2015 and 2016, B&B LLC filed, and later received registrations, for the

following trademarks (collectively, the “B&B LLC Marks”):

             (a)   the “B & B” word mark (U.S. Reg. No. 5,851,855) filed on

January 13, 2016, registered on September 3, 2019, with a stated first use in

commerce date of October 19, 2018, for “investment management” in Class 36;

             (b)   the “B&B” word mark (U.S. Reg. No. 6,037,338) filed on

December 14, 2015, registered on April 21, 2020, with a stated first use in

commerce date of October 19, 2018, for “investment banking; financial




                                        -21-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 80 of 138




consultation; financial analysis; capital investment and private equity fund

management; and financial advisory services in the fields of asset-backed

financings, project financings, leveraged leases, sale leasebacks, portfolios of

leased or financed assets, secured debt, tax-advantaged financings; financial

advisory services in the fields of financing equipment purchasing, financing

equipment leasing, and financing equipment sales” in Class 36;

             (c)   the “BABCOCK & BROWN” word mark (U.S. Reg. No.

5,643,846) filed on January 13, 2016, registered on January 1, 2019, with a stated

first use in commerce date of October 19, 2018, for “investment management” in

Class 36; and

             (d)   the “BABCOCK & BROWN” word mark (U.S. Reg. No.

5,769,928) filed on March 6, 2015, registered on June 4, 2019, with a stated first

use in commerce date of October 19, 2018, for “investment banking; financial

consultation; financial analysis; capital investment and private equity fund

management; and financial advisory services in the fields of asset-backed

financings, project financings, leveraged leases, sale leasebacks, portfolios of

leased or financed assets, secured debt, tax-advantaged financings; financial

advisory services in the fields of financing equipment purchasing, financing

equipment leasing, and financing equipment sales” in Class 36.

      42.    Each of the trademark applications for the B&B LLC Marks were filed

under 15 U.S.C. § 1051(b) based on B&B LLC’s alleged bona fide intention to use

the marks in commerce. Upon receiving a notice of allowance for each

application, B&B LLC was required to submit a statement of use verifying that




                                        -22-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 81 of 138




each mark had been used or displayed in the sale or advertising of its services

and that those services had been rendered in commerce within the six-month

statutory period set by 15 U.S.C. § 1051(d), which can be extended up to at most

30 months, id.

      43.    For Trademark Reg. Nos. 5,769,928 (BABCOCK & BROWN), 6,037,338

(B&B), and 5,851,855 (B & B), B&B LLC filed the maximum number of extensions

of time to file a statement of use, which were granted, and had until October 20,

2018, July 5, 2019, and July 5, 2019, respectively, to put the marks into use and to

file statements of use pursuant to 15 U.S.C. § 1051(d). For Trademark Reg. No.

5,643,846 (BABCOCK & BROWN), B&B LLC filed its second-to-last extension of

time on July 3, 2018 which gave it until January 5, 2019 to put the mark into use

and file its statement of use.

      44.    Discovery in this action has shown that B&B LLC failed to render

services for each of the B&B LLC Marks in connection with the services listed in

each respective trademark application prior to the relevant statutory deadlines.




                                        -23-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 82 of 138




      45.   Despite the fact that B&B LLC has not itself rendered services in

connection with the goods and services listed in each respective trademark

application, B&B LLC uses the BABCOCK & BROWN and B&B marks on its

homepage in a manner that falsely claims that it has clients and renders services

to those clients, as shown below:




      46.   BBAM’s use of the BABCOCK & BROWN Marks in commerce

predates B&B LLC’s use of the B&B LLC Marks and the founding of B&B LLC’s

company.

      Defendant B&B Investment Management

      47.   Shortly before this litigation was filed, BBAM became aware that

Defendant B&B Investment Management was formed by Michael Dickey Morgan

in or around December 2015. The B&B Investment Management name was




                                       -24-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 83 of 138




selected due to its connection to the BABCOCK & BROWN mark.

      48.




      49.   B&B Investment Management has used the BABCOCK & BROWN

and B&B marks in promotional flyers produced in cooperation with B&B LLC,

shown above:




      50.   BBAM’s use of the BABCOCK & BROWN Marks in commerce

predates B&B Investment Management’s use of the BABCOCK & BROWN mark.

  DEFENDANTS’ ACTIONS ARE WILLFUL AND LIKELY TO CAUSE CONFUSION

      51.   Defendants’ use of the BABCOCK & BROWN Marks is a purposeful

and willful attempt to trade off of the goodwill associated with the BABCOCK &

BROWN Marks and BBAM’s business. Morgan was employed by Babcock &




                                      -25-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 84 of 138




Brown LP and BBAM until around the time Babcock & Brown LP went out of

business. (1) Morgan was aware of BBAM’s rights in the BABCOCK & BROWN

Marks and the goodwill associated therewith; (2) Morgan was aware that Nomura

Babcock & Brown used “Babcock & Brown” as part of an exclusive marketing

partnership with BBAM; (3) Morgan adopted use of the BABCOCK & BROWN

Marks with the intent to capture BBAM’s goodwill associated with the marks with

the full knowledge that doing so would cause harm to BBAM and cause

confusion amongst BBAM’s customers, clients, and investors; and (4) Morgan

sought the right to use the BABCOCK & BROWN Marks multiple times, and was

specifically denied such right.

      52.    Defendants’ use of the BABCOCK & BROWN Marks has caused and

will continue to cause consumer confusion.

             (a)   The BABCOCK & BROWN Marks and BBAM Marks are both

conceptually and commercially strong. The Babcock & Brown name and

formatives, such as BBAM, the BBAM logo, and B&B, constitute arbitrary marks

when used with aviation leasing and finance services. The BABCOCK & BROWN

Marks are commercially strong because they are well-recognized in the industry

and BBAM’s connection to and continuation of the Babcock & Brown aviation

business is well known in the industry. See, e.g., S. Tan, “Babcock & Brown:

Where are they now?,” Financial Review, June 1, 2018, available at

www.afr.com/companies/financial-services/babcock--brown-where-are-they-now-

20180531-h10tbc (describing BBAM as “one of the world’s leading aviation

management businesses” and linking BBAM to a continuation of one of Babcock




                                      -26-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 85 of 138




& Brown’s “flagship operations.”). Industry trade groups recognize BBAM as a

direct continuation of “Babcock & Brown Aircraft Management, a wholly owned

subsidiary of Babcock & Brown.” Centre for Aviation, Lessor Profile of BBAM,

available at https://centreforaviation.com/data/profiles/lessors/bbam. Through

extensive marketing efforts and industry news coverage, including activities with

Nomura Babcock & Brown, BBAM is well known in the aviation financing industry

as the source of financing services throughout the United States under the

BABCOCK & BROWN Marks. The BBAM Marks are likewise commercially strong

because they are well-recognized in the industry and BBAM is a prominent

provider of services in the aircraft financing and asset-management industry.

Through extensive marketing efforts and industry news coverage, BBAM is well

known in the aviation financing industry as the source of financing services

throughout the United States under the BBAM Marks.

            (b)   Defendants’ marks are identical or virtually identical to the

BABCOCK & BROWN Marks. Defendants’ marks are confusingly similar to the

BBAM Marks. It is commonly understood that BBAM stands for “Babcock &

Brown Aircraft Management,” and the BBAM logo is designed to graphically

separate and display prominently the letters “BB” as opposed to the letters “A”

and “M,” as shown below:




                                       -27-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 86 of 138




Consumers will associate the BABCOCK & BROWN Marks when used by

Defendants with BBAM and the BBAM Marks.

            (c)    Defendants compete with BBAM in the aircraft financing and

leasing market. Defendants also compete with BBAM for the business of U.S.

airlines, including Delta Air Lines, American Airlines, and other U.S.-based

airlines. Defendant B&B LLC, for example, falsely touted a non-existent

relationship with BBAM client Delta Air Lines, among others, on its website:




            (d)    Defendants acted with intent. Defendants’ managing partner,

Morgan, was well aware of BBAM, its connection to Babcock & Brown, and use of

the BABCOCK & BROWN Marks when Defendants adopted their infringing marks.

Morgan selected Defendants’ marks in order to trade off of BBAM’s recognition

and goodwill in the market and BBAM’s continuation of Babcock & Brown’s

aircraft management business.




                                       -28-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 87 of 138




            (e)    Defendants’ use of the BABCOCK & BROWN Marks or

confusingly similar marks is likely to harm BBAM’s reputation in the industry.

Clients in the aviation management and financing industry expect business

associated with the BABCOCK & BROWN Marks and the BBAM Marks to be

associated with and controlled by BBAM and its management. Defendants’ use

of confusingly similar marks will harm, if it has not already harmed, BBAM’s

reputation by creating a false association with BBAM’s business and goodwill.

            (f)    There is a substantial risk of confusion as Defendants seek

out business using the BABCOCK & BROWN Marks that will cause clients to

direct their attention to Defendants rather than BBAM. Defendants will be able to

use confusion to “get their foot in the door” and pitch business opportunities that

would have been BBAM’s opportunities absent Defendants’ wrongful conduct.

      53.   In short, by their use of the BABCOCK & BROWN Marks, Defendants

improperly associate themselves with BBAM—including BBAM’s successes and

industry reputation—cause confusion among BBAM’s airline clients and

investors, and cause significant, lasting, and irreparable harm to BBAM’s

reputation and goodwill, which BBAM has built up over the past 30 years.

                            FIRST CLAIM FOR RELIEF

      (Trademark Infringement, 15 U.S.C. § 1114(1), Against All Defendants)

      54.   BBAM repeats and realleges the allegations set forth in paragraphs

1–53 above, as though fully set forth herein.

      55.   BBAM owns incontestable federal registrations in the BBAM Marks.

      56.   Defendant Burnham Sterling uses the BABCOCK & BROWN Marks,




                                        -29-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 88 of 138




which are confusingly similar to the BBAM Marks, in commerce in connection

with aviation leasing and financing advisory services. BBAM’s rights in the

BBAM Marks predate Burnham Sterling’s first use of the BABCOCK & BROWN

mark.

        57.   Defendant B&B Securities uses the BABCOCK & BROWN Marks,

which are confusingly similar to the BBAM Marks, in commerce in connection

with its aircraft financing goods and services. BBAM’s rights in the BBAM Marks

predate B&B Securities’ founding and first use of the BABCOCK & BROWN

Marks.

        58.   Defendant B&B LLC has used and registered the B&B LLC Marks,

which are confusingly similar to the BBAM Marks. BBAM’s rights in the BBAM

Marks predate B&B LLC’s founding and any use of each of the B&B LLC Marks.

        59.   Defendant B&B Investment Management uses the BABCOCK &

BROWN Marks in connection with investment management services. BBAM’s

rights in the BBAM Marks predate B&B Investment Management’s founding and

any use of the BABCOCK & BROWN Marks.

        60.   Each Defendant had knowledge of the BBAM Marks and BBAM’s use

of the BBAM Marks prior to the respective Defendant’s adoption and use, if any,

of one or both of the BABCOCK & BROWN Marks, or their other confusingly

similar marks, based on Michael Dickey Morgan’s previous work experience at

Babcock & Brown LP, interactions with BBAM, and knowledge of the industry.

        61.   Defendants’ unauthorized use of or advertising using one or both of

the BABCOCK & BROWN Marks as alleged herein is likely to deceive consumers




                                        -30-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 89 of 138




as to the origin, source, sponsorship, and/or affiliation of Defendants’ services,

and is likely to cause consumers to mistakenly believe that Defendants’ services

are in some way affiliated with or sponsored by BBAM. Defendants’ conduct

therefore constitutes trademark infringement of BBAM’s federally registered

BBAM Marks in violation of 15 U.S.C. § 1114(1).

      62.    Defendants’ use of one or both of the BABCOCK & BROWN Marks

and other confusingly similar marks will cause BBAM to lose business

opportunities and damage BBAM’s reputation in the aircraft management and

leasing industry.

      63.    Defendants’ conduct has caused BBAM to suffer injuries, and

Defendants continue to engage in such conduct.

      64.    Defendants will continue to infringe upon BBAM’s rights unless and

until enjoined by this Court. BBAM has been and is likely to continue to be

irreparably injured unless Defendants are enjoined. BBAM has no adequate

remedy at law.

                           SECOND CLAIM FOR RELIEF

(False Designation of Origin, Affiliation, Connection, and Sponsorship, 15 U.S.C.

                      § 1125(a)(1)(A), Against All Defendants)

      65.    BBAM repeats and realleges the allegations set forth in paragraphs

1–64 above, as though fully set forth herein.

      66.    Defendants’ conduct constitutes trademark infringement under 15

U.S.C. § 1125(a).

      67.    BBAM’s use in commerce of the BABCOCK & BROWN Marks and




                                        -31-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 90 of 138




BBAM Marks is senior to any use by Defendants’ and predates the formation

dates of each Defendant and the date that each Defendant first used the “B&B” or

“Babcock & Brown” names in commerce. BBAM began using the BABCOCK &

BROWN Marks in commerce when it was founded more than 30 years ago, the

BABCOCK & BROWN Marks have been in continuous use, and BBAM continues

to use the BABCOCK & BROWN Marks today. BBAM used the BBAM Marks in

commerce prior to Defendants’ use of the BABCOCK & BROWN Marks, the BBAM

Marks have been in continuous use, and BBAM continues to use the BBAM Marks

today.

         68.   Defendant Burnham Sterling has attempted to register the

BURNHAM BABCOCK & BROWN mark, which is confusingly similar to the

BABCOCK & BROWN Marks and the BBAM Marks in connection with investment

banking, equipment leasing, and investment management products and services.

Burnham Sterling also uses the BABCOCK & BROWN Marks in connection with

aviation leasing and financing services. BBAM’s rights in the BABCOCK &

BROWN Marks and BBAM Marks predate Burnham Sterling’s first use of the

BURNHAM BABCOCK & BROWN mark and the BABCOCK & BROWN Marks.

         69.   Burnham Sterling’s use of the BURNHAM BABCOCK & BROWN mark

and BABCOCK & BROWN Marks is likely to cause consumer confusion,

deception, or mistake as to the source or origin of Burnham Sterling’s services.

         70.   Defendant B&B Securities uses the BABCOCK & BROWN Marks in

connection with its aircraft leasing and financing services. BBAM’s rights in the

BABCOCK & BROWN Marks and BBAM Marks predate B&B Securities’ founding




                                        -32-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 91 of 138




and first use of the BABCOCK & BROWN Marks.

      71.   B&B Securities’ use of the BABCOCK & BROWN Marks is likely to

cause consumer confusion, deception, or mistake as to the source or origin of

B&B Securities’ services.

      72.   Defendant B&B LLC has used and registered the B&B LLC Marks,

which are confusingly similar to (or identical to) the BABCOCK & BROWN Marks,

in connection with investment banking, investment management, and equipment

leasing. BBAM’s rights in the BABCOCK & BROWN Marks and BBAM Marks

predate B&B LLC’s founding and first use of each of the B&B LLC Marks.

      73.   B&B LLC’s use of the B&B LLC Marks is likely to cause consumer

confusion, deception, or mistake as to the source or origin of B&B LLC’s

services.

      74.   Defendant B&B Investment Management uses the BABCOCK &

BROWN Marks in connection with its investment management goods and

services. BBAM’s rights in the BABCOCK & BROWN Marks and BBAM Marks

predate B&B Investment Management’s founding and first use of the BABCOCK

& BROWN Marks.

      75.   B&B Investment Management’s use of the BABCOCK & BROWN

Marks is likely to cause consumer confusion, deception, or mistake as to the

source or origin of B&B Investment Management’s services.

      76.   Each Defendant had knowledge of the BABCOCK & BROWN Marks

and BBAM Marks, as well as BBAM’s use of the BABCOCK & BROWN Marks and

BBAM Marks, prior to the respective Defendant’s adoption and use of the




                                      -33-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 92 of 138




BABCOCK & BROWN Marks, or their other confusingly similar marks, based on

Michael Dickey Morgan’s previous work experience at Babcock & Brown LP,

interactions with BBAM, and knowledge of the industry.

      77.   Defendants’ use of the BABCOCK & BROWN Marks and other

confusingly similar marks will cause BBAM to lose business opportunities and

damage BBAM’s reputation in the aircraft management and leasing industry.

      78.   Defendants’ conduct has caused BBAM to suffer injuries, and

Defendants continue to engage in such conduct.

      79.   Defendants will continue to infringe upon BBAM’s rights unless and

until enjoined by this Court. BBAM has been and is likely to continue to be

irreparably injured unless Defendants are enjoined. BBAM has no adequate

remedy at law.

                            THIRD CLAIM FOR RELIEF

  (Connecticut Common Law Trademark Infringement Against All Defendants)

      80.   BBAM repeats and realleges the allegations set forth in paragraphs

1–79 above, as though fully set forth herein.

      81.   Defendants’ conduct constitutes trademark infringement under the

common law of Connecticut.

      82.   BBAM’s use in commerce of the BABCOCK & BROWN Marks and

BBAM Marks is senior to Defendants’ and predates the formation dates of each

Defendant and the date that each Defendant first used the “B&B” or “Babcock &

Brown” names in commerce. BBAM began using the BABCOCK & BROWN

Marks in commerce when it was founded more than 30 years ago, the BABCOCK




                                        -34-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 93 of 138




& BROWN Marks have been in continuous use in the United States, and BBAM

continues to use the BABCOCK & BROWN Marks today. BBAM used the BBAM

Marks in commerce prior to Defendants’ use of the BABCOCK & BROWN Marks,

the BBAM Marks have been in continuous use, and BBAM continues to use the

BBAM Marks today.

      83.   Defendant Burnham Sterling has attempted to register the

BURNHAM BABCOCK & BROWN mark, which is confusingly similar to the

BABCOCK & BROWN Marks and the BBAM Marks in connection with investment

banking, equipment leasing, and investment management products and services.

Burnham Sterling also uses the BABCOCK & BROWN Marks in connection with

aviation leasing and financing services. BBAM’s rights in the BABCOCK &

BROWN Marks and BBAM Marks predate Burnham Sterling’s first use of the

BURNHAM BABCOCK & BROWN mark and the BABCOCK & BROWN Marks.

      84.   Burnham Sterling’s use of the BURNHAM BABCOCK & BROWN mark

and BABCOCK & BROWN Marks is likely to cause consumer confusion,

deception, or mistake as to the source or origin of Burnham Sterling’s services.

      85.   Defendant B&B Securities uses the BABCOCK & BROWN Marks in

connection with its aircraft leasing and financing services. BBAM’s rights in the

BABCOCK & BROWN Marks and BBAM Marks predate B&B Securities’ founding

and first use of the BABCOCK & BROWN Marks.

      86.   B&B Securities’ use of the BABCOCK & BROWN Marks is likely to

cause consumer confusion, deception, or mistake as to the source or origin of

B&B Securities’ goods and/or services.




                                       -35-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 94 of 138




      87.   Defendant B&B LLC has used and registered the B&B LLC Marks,

which are confusingly similar to (or identical to) the BABCOCK & BROWN Marks,

in connection with investment banking, investment management, and equipment

leasing. BBAM’s rights in the BABCOCK & BROWN Marks and BBAM Marks

predate B&B LLC’s founding and first use of each of the B&B LLC Marks.

      88.   B&B LLC’s use of the B&B LLC Marks is likely to cause consumer

confusion, deception, or mistake as to the source or origin of B&B LLC’s goods

and/or services.

      89.   Defendant B&B Investment Management uses the BABCOCK &

BROWN Marks in connection with its investment management goods and

services. BBAM’s rights in the BABCOCK & BROWN Marks and BBAM Marks

predate B&B Investment Management’s founding and first use of the BABCOCK

& BROWN Marks.

      90.   B&B Investment Management’s use of the BABCOCK & BROWN

Marks is likely to cause consumer confusion, deception, or mistake as to the

source or origin of B&B Investment Management’s goods and/or services.

      91.   Each Defendant had knowledge of the BABCOCK & BROWN Marks

and BBAM Marks, as well as BBAM’s use of the BABCOCK & BROWN Marks and

BBAM Marks, prior to the respective Defendant’s adoption and use of the

BABCOCK & BROWN Marks, or their other confusingly similar marks, based on

Michael Dickey Morgan’s previous work experience at Babcock & Brown LP,

interactions with BBAM, and knowledge of the industry.

      92.   Defendants’ use of the BABCOCK & BROWN Marks and other




                                      -36-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 95 of 138




confusingly similar marks will cause BBAM to lose business opportunities and

damage BBAM’s reputation in the aircraft management and leasing industry.

      93.    Defendants’ conduct has caused BBAM to suffer injuries, and

Defendants continue to engage in such conduct.

      94.    Defendants will continue to infringe upon BBAM’s rights unless and

until enjoined by this Court. BBAM has been and is likely to continue to be

irreparably injured unless Defendants are enjoined. BBAM has no adequate

remedy at law.

                           FOURTH CLAIM FOR RELIEF

       (False Advertising, 15 U.S.C. § 1125(a)(1)(B), Against All Defendants)

      95.    BBAM repeats and realleges the allegations set forth in paragraphs

1–94 above, as though fully set forth herein.

      96.    Through use of the name “Babcock & Brown,” Defendants are falsely

and/or misleadingly representing that there is a continuation, sponsorship, or

affiliation between Defendants and their goods and services on the one hand and

Babcock & Brown LP and BBAM on the other hand where no such relationship

exists. Moreover by representing to consumers through advertising and

representations on its websites and social media pages that it is affiliated with

“Babcock & Brown,” that it offers the services “formerly offered by” Babcock &

Brown, and other similar statements in marketing materials distributed to

potential clients, Defendant Burnham Sterling is falsely and/or misleadingly

representing that there is a continuation, sponsorship, or affiliation between

Burnham Sterling and its goods and services on the one hand and Babcock &




                                        -37-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 96 of 138




Brown LP and BBAM on the other hand where no such relationship exists. By

doing so, Defendants are misrepresenting the nature, characteristics, and/or

qualities of their goods and services and either have deceived or have the

capacity to deceive a substantial segment of potential consumers in a way that is

likely to influence their purchasing decision.

      97.    Defendants made these false and misleading representations in

order to take advantage of BBAM’s goodwill and reputation in the aviation

industry generally and specifically in the JOL financing market.

      98.    Defendants’ conduct has caused or is likely to cause BBAM to lose

business opportunities and damage BBAM’s reputation in the aircraft

management and leasing industry.

      99.    Defendants will continue to falsely and misleadingly represent that

they are associated with BBAM and/or Babcock & Brown LP unless and until

enjoined by this Court. BBAM has been and is likely to continue to be irreparably

injured unless Defendants are enjoined. BBAM has no adequate remedy at law.

                            FIFTH CLAIM FOR RELIEF

       (State and Common Law Unfair Competition Against All Defendants)

      100.   BBAM repeats and realleges the allegations set forth in paragraphs

1–99 above, as though fully set forth herein.

      101.   The acts described above constitute unfair and deceptive acts or

practices in violation of Conn. Gen. Stat. §§ 42-110a-42-110q (“CUTPA”).

Defendants’ conduct is deceptive because a reasonable consumer in the relevant

market is likely to be misled by Defendants’ use of the BABCOCK & BROWN




                                        -38-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 97 of 138




Marks or confusingly similar marks and think that Defendants are associated with

BBAM. This confusion will cause BBAM to lose business opportunities and

damage BBAM’s reputation in the aircraft management and leasing industry.

Defendants’ conduct is unfair because it offends the public policy established by

15 U.S.C. §§ 1114(1) and 1125(a) and Connecticut’s trademark infringement

common law.

      102.   The acts described above also constitute unfair competition in

violation of Connecticut’s common law. Defendants’ use of marks and

tradenames identical and confusingly similar to the BABCOCK & BROWN Marks

and BBAM Marks will cause BBAM to lose business opportunities and damage

BBAM’s reputation in the aircraft management and leasing industry. Defendants’

false claims of affiliation will further cause BBAM to lose business opportunities

and damage BBAM’s reputation in the aircraft management and leasing industry.

      103.   Defendants’ conduct has caused BBAM to suffer injuries, and

Defendants continue to engage in such conduct. BBAM is entitled to recover

damages, including actual and punitive damages, costs, attorneys’ fees, and the

disgorgement of Defendants’ profits under Conn. Gen. Stat. § 42-110g.

      104.   Defendants will continue to infringe upon BBAM’s rights unless and

until enjoined by this Court. BBAM has been and is likely to continue to be

irreparably injured unless Defendants are enjoined. BBAM has no adequate

remedy at law.




                                       -39-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 98 of 138




                            SIXTH CLAIM FOR RELIEF

  (Cancellation of U.S. Trademark Registration No. 5,851,855 Under 15 U.S.C. §§

                 1052(d), 1064, 1119 Against Defendant B&B LLC)

      105.   BBAM repeats and realleges the allegations set forth in paragraphs

1–104 above, as though fully set forth herein.

      106.   Cancellation of U.S. Registration No. 5,851,855 of the “B & B” word

mark (the “5,851,855 Registration”) is warranted, appropriate, and necessary

because the mark is likely, when used on or in connection with the goods and

services of Defendant B&B LLC, to cause confusion, cause mistake, or to deceive

with respect to BBAM’s senior marks.

      107.   BBAM pleads in the alternative pursuant to Federal Rules of Civil

Procedure 8(d)(2)–(3) that cancellation of the 5,851,855 Registration is also

warranted because the registration is void. Neither the registrant B&B LLC, nor

any other party whose use would inure to the registrant’s benefit, rendered

investment management services under the B & B mark in commerce prior to the

statutory deadline in 15 U.S.C. § 1051(d) for B&B LLC to file a statement of use.

      108.   BBAM has standing to seek to cancel the “B & B” mark because the

mark is confusingly similar to one or more of BBAM’s trademarks and use of the

mark by B&B LLC constitutes trademark infringement of BBAM’s senior marks

and use is causing or will cause harm to BBAM and its interest in its marks.

      109.   Pursuant to 15 U.S.C. §§ 1052, 1064, and 1119, BBAM requests an

order of this Court cancelling the 5,851,855 Registration.




                                        -40-
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 99 of 138




                          SEVENTH CLAIM FOR RELIEF

  (Cancellation of U.S. Trademark Registration No. 6,037,338 Under 15 U.S.C. §§

                 1052(d), 1064, 1119 Against Defendant B&B LLC)

      110.   BBAM repeats and realleges the allegations set forth in paragraphs

1–109 above, as though fully set forth herein.

      111.   Cancellation of U.S. Registration No. 6,037,338 of the “B&B” word

mark (the “6,037,338 Registration”) is warranted, appropriate, and necessary

because the mark is likely, when used on or in connection with the goods and

services of Defendant B&B LLC, to cause confusion, cause mistake, or to deceive

with respect to BBAM’s senior marks.

      112.   BBAM pleads in the alternative pursuant to Federal Rules of Civil

Procedure 8(d)(2)–(3) that cancellation of the 6,037,338 Registration is also

warranted because the registration is void. Neither the registrant B&B LLC nor

any other party whose use would inure to the registrant’s benefit rendered the

services listed in the application associated with the 6,037,338 Registration under

the B&B mark in commerce prior to the statutory deadline in 15 U.S.C. § 1051(d)

for B&B LLC to file a statement of use.

      113.   BBAM has standing to seek to cancel the “B&B” mark because the

mark is confusingly similar to one or more of BBAM’s trademarks and use of the

mark by B&B LLC constitutes trademark infringement of BBAM’s senior marks

and use is causing or will cause harm to BBAM and its interest in its marks.

      114.   Pursuant to 15 U.S.C. §§ 1052, 1064, and 1119, BBAM requests an

order of this Court cancelling the 6,037,338 Registration.




                                          -41-
    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 100 of 138




                           EIGHTH CLAIM FOR RELIEF

  (Cancellation of U.S. Trademark Registration No. 5,643,846 Under 15 U.S.C. §§

                 1052(d), 1064, 1119 Against Defendant B&B LLC)

      115.   BBAM repeats and realleges the allegations set forth in paragraphs

1–114 above, as though fully set forth herein.

      116.   Cancellation of U.S. Registration No. 5,643,846 of the BABCOCK &

BROWN word mark (the “5,643,846 Registration”) is warranted, appropriate, and

necessary because the mark is likely, when used on or in connection with the

goods and services of Defendant B&B LLC, to cause confusion, cause mistake,

or to deceive with respect to BBAM’s senior marks.

      117.   BBAM pleads in the alternative pursuant to Federal Rules of Civil

Procedure 8(d)(2)–(3) that cancellation of the 5,643,846 Registration is also

warranted because the registration is void. Neither the registrant B&B LLC nor

any other party whose use would inure to the registrant’s benefit rendered

investment management services under the BABCOCK & BROWN mark in

commerce prior to the statutory deadline in 15 U.S.C. § 1051(d) for B&B LLC to

file a statement of use.

      118.   BBAM has standing to seek to cancel the BABCOCK & BROWN mark

because the mark is confusingly similar to one or more of BBAM’s trademarks

and use of the mark by B&B LLC constitutes trademark infringement of BBAM’s

senior marks and use is causing or will cause harm to BBAM and its interest in its

marks.

      119.   Pursuant to 15 U.S.C. §§ 1052, 1064, and 1119, BBAM requests an




                                        -42-
    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 101 of 138




order of this Court cancelling the 5,643,846 Registration.

                            NINTH CLAIM FOR RELIEF

  (Cancellation of U.S. Trademark Registration No. 5,769,928 under 15 U.S.C. §§

                 1052(d), 1064, 1119 Against Defendant B&B LLC)

      120.   BBAM repeats and realleges the allegations set forth in paragraphs

1–119 above, as though fully set forth herein.

      121.   Cancellation of U.S. Registration No. 5,769,928 of the BABCOCK &

BROWN word mark (the “5,769,928 Registration”) is warranted, appropriate, and

necessary because the mark is likely, when used on or in connection with the

goods and services of Defendant B&B LLC, to cause confusion, cause mistake,

or to deceive with respect to BBAM’s senior marks.

      122.   BBAM pleads in the alternative pursuant to Federal Rules of Civil

Procedure 8(d)(2)–(3) that cancellation of the 5,769,928 Registration is also

warranted because the registration is void. Neither the registrant B&B LLC nor

any other party whose use would inure to the registrant’s benefit rendered the

services listed in the application associated with the 5,769,928 Registration under

the BABCOCK & BROWN mark in commerce prior to the statutory deadline in 15

U.S.C. § 1051(d) for B&B LLC to file a statement of use.

      123.   BBAM has standing to seek to cancel the BABCOCK & BROWN mark

because the mark is confusingly similar to one or more of BBAM’s trademarks

and use of the mark by B&B LLC constitutes trademark infringement of BBAM’s

senior marks and use is causing or will cause harm to BBAM and its interest in its

marks.




                                        -43-
    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 102 of 138




      124.   Pursuant to 15 U.S.C. §§ 1052, 1064, and 1119, BBAM requests an

order of this Court cancelling the 5,769,928 Registration.

                            TENTH CLAIM FOR RELIEF

(Refusal of U.S. Trademark Application No. 86/874,191 under 15 U.S.C. §§ 1052(d),

                 1119 Against Defendant Babcock & Brown LLC)

      125.   BBAM repeats and realleges the allegations set forth in paragraphs

1–124 above, as though fully set forth herein.

      126.   Refusal of U.S. Application No. 86/874,191 of the BURNHAM

BABCOCK & BROWN word mark is warranted, appropriate, and necessary

because the mark is likely, when used on or in connection with the goods and

services of Defendant Burnham Sterling, to cause confusion, cause mistake, or to

deceive with respect to BBAM’s senior marks.

      127.   BBAM pleads in the alternative pursuant to Federal Rules of Civil

Procedure 8(d)(2)–(3) that refusal of U.S. Application No. 86/874,191 is warranted,

appropriate, and necessary because the original applicant, Burnham Sterling,

purported to assign its entire interest in the BURNHAM BABCOCK & BROWN

mark and pending intent-to-use application No. 86/874,191 to Defendant B&B

LLC. The assignment legally invalidated the pending application pursuant to

15 U.S.C. § 1060(a)(1) because no portion of Burnham Sterling’s business was in

actuality conveyed in the assignment.

      128.   BBAM has standing to seek refusal of the application to register the

BURNHAM BABCOCK & BROWN because BBAM has senior trademark rights in

the BABCOCK & BROWN Marks and B&B LLC’s application, and attempted




                                        -44-
    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 103 of 138




registration of the infringing BURNHAM BABCOCK & BROWN mark is likely to

cause consumer confusion as to the source of B&B LLC’s goods and services

with BBAM.

      129.   Pursuant to 15 U.S.C. §§ 1052 and 1119, BBAM requests an order of

this Court refusing registration of U.S. Application No. 86/874,191.

                                 PRAYER FOR RELIEF

      BBAM prays for the following relief:

      A.     That the Court enter judgment in favor of BBAM and against

             Defendants on all claims for relief;

      B.     That the Court permanently enjoin Defendants, their officers and

             directors, employees, agents, representatives, successors and

             assigns, and all persons or entities acting in concert or in

             participation with them from using the BABCOCK & BROWN Marks

             or any mark confusingly similar thereto, and from making false or

             misleading advertisements suggesting sponsorship by or affiliation

             with BBAM or Babcock & Brown LP;

      C.     That the Court direct Defendants to recall from any and all channels

             of trade or distribution all products, advertising, and promotional

             material distributed by Defendants which bear or constitute the

             infringing marks;

      D.     That the Court direct Defendants to deliver up for destruction or

             other disposition, within 30 days of the entry of final judgment

             herein, any and all advertising or other material in their possession




                                        -45-
Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 104 of 138




            which bear or constitute the infringing marks;

 E.         That the Court direct Defendants to file with the Court and serve on

            counsel for BBAM, within 30 days after entry of any injunction issued

            by the Court in this action, a sworn written statement as provided in

            15 U.S.C. § 1116(a);

 F.         That the Court direct the USPTO to cancel U.S. Trademark

            Registration Nos. 5,851,855, 6,037,338, 5,643,846, and 5,769,928;

 G.         That the Court direct the USPTO to refuse registration of U.S.

            Application No. 86/874,191;

 H.         That the Court find that this is an exceptional case pursuant to 15

            U.S.C. § 1117(a);

 I.         That the Court order an accounting and order Defendants to pay over

            to BBAM:

       i.         All monetary gains, profits, and advantages derived by

                  Defendants from the acts complained of herein;

       ii.        Up to treble the amount, but no less than the actual amount, of

                  damages sustained by BBAM;

      iii.        Punitive and exemplary damages as provided by law,

                  including treble damages as authorized pursuant to 15 U.S.C.

                  § 1117(a);

      iv.         BBAM’s costs and disbursements in this action, including

                  reasonable attorneys’ fees and pre-judgment and post-

                  judgment interest; and




                                       -46-
    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 105 of 138




          v.     Award BBAM any other or further relief that the Court deems

                 just or appropriate; and

     J.    That the Court award compensatory damages, punitive damages,

           disgorgement, costs, and attorneys’ fees pursuant to Connecticut

           General Statutes § 42-110g in connection with Defendants’ CUTPA

           violations.

                           DEMAND FOR JURY TRIAL

     BBAM demands a trial by jury.



Dated: September 2, 2021


                                        Respectfully submitted,

                                        Orrick, Herrington & Sutcliffe LLP

                                        By: /s/ Diana M. Rutowski
                                           Diana M. Rutowski

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                                     -47-
Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 106 of 138




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                                      LP and BBAM US LP




                               -48-
Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 107 of 138




                        Exhibit C
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 108 of 138
                     * CONFIDENTIAL - ATTORNEYS EYES ONLY *

1      UNITED STATES DISTRICT COURT
2      DISTRICT OF CONNECTICUT
3      -----------------------------------------x
4      BBAM AIRCRAFT MANAGEMENT LP
5      and BBAM US LP,
6                        Plaintiffs,
7                                          Case No.       3:20-cv-1056 (VLB)
8                        v.
9      BABCOCK & BROWN LLC, BURNHAM
10     STERLING & COMPANY LLC, BABCOCK
       & BROWN SECURITIES LLC, BABCOCK
11     & BROWN INVESTMENT MANAGEMENT
       LLC,
12                       Defendants.
13     -----------------------------------------x
14                       10:10 a.m.
15                       July 27, 2021
16
17               * CONFIDENTIAL - ATTORNEYS EYES ONLY *
18               VIRTUAL DEPOSITION of MICHAEL DICKEY
19     MORGAN, a testifying on behalf of the Defendants
20     in the above entitled matter, pursuant to Rule
21     30(b)(6), before Stephen J. Moore, a Registered
22     Professional Reporter, Certified Realtime Reporter
23     and Notary Public of the State of New York.
24
25

                                                                    Page 1

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     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 109 of 138
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1                          MICHAEL MORGAN - CONF. AEO
2                            And we have just two entities
3       that are licensed, that's the Babcock & Brown
4       Securities entity and the Babcock & Brown
5       Investment Management entity.
6                            There are filings that are
7       required for the -- for all entities with the
8       State of Connecticut or the state that they are
9       incorporated.        Those are just the normal annual
10      report filings, those we also do.
11                           And then we did a name change
12      filing for Burnham Sterling Securities to
13      become Babcock & Brown Securities with that
14      filing, so she reminded me of our filing
15      requirements.
16                 Q         Okay.
17                           So the two entities that need to
18      file with FINRA, the SEC and the Connecticut
19      Department of Banking are Babcock & Brown
20      Securities and Babcock & Brown Investment
21      Management, is that right?
22                 A         Correct, yes.
23                 Q         And Babcock & Brown Investment
24      Management, does that go by an acronym?
25                 A         We might refer to it as BBIM,

                                                                Page 79

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    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 110 of 138
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1                         MICHAEL MORGAN - CONF. AEO
2      it's possible.
3                 Q         And what do you mean by it's
4      possible?       Have you seen it referred to that in
5      writing?
6




                                                               Page 80

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    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 111 of 138
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1                         MICHAEL MORGAN - CONF. AEO
2




                                                               Page 81

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    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 112 of 138
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1                         MICHAEL MORGAN - CONF. AEO
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                                                              Page 153

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    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 113 of 138
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                                                              Page 154

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    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 114 of 138
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                                                              Page 155

                              Veritext Legal Solutions
                                   866 299-5127
    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 115 of 138
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1                         MICHAEL MORGAN - CONF. AEO
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                                                              Page 249

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    Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 116 of 138
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                                                              Page 250

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     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 117 of 138
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1                        MICHAEL MORGAN - CONF. AEO
2
                         I, the undersigned, a Certified
3                 Shorthand Reporter of the State of New
                  York, do hereby certify:
4                        That the foregoing proceedings were
                  taken before me at the time and place
5                 herein set forth; that any witnesses in
                  the foregoing proceedings, prior to
6                 testifying, were duly sworn; that a record
                  of the proceedings was made by me using
7                 machine shorthand which was thereafter
                  transcribed under my direction;
8                        That the foregoing transcript is a
                  true record of the testimony given.
9                        Further, that if the foregoing
                  pertains to the original transcript of a
10                deposition in a federal case before
                  completion of the proceedings, review of
11                the transcript [ ] was [x ] was not
                  requested.
12
                         I further certify I am neither
13                financially interested in the action nor a
                  relative or employee of any attorney or
14                party to this action.
                         IN WITNESS WHEREOF, I have this
15                date subscribed my name.
16                       Dated: August 4, 2021
17
18
19                           <%20932,Signature%>
20                           Stephen J. Moore
21                           RPR, CRR
22
23
24
25

                                                               Page 334

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                                    866 299-5127
Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 118 of 138




                        Exhibit D
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 119 of 138
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1         UNITED STATES DISTRICT COURT

2         DISTRICT OF CONNECTICUT

3         --------------------------------------x

4         BBAM AIRCRAFT MANAGEMENT LP

5         and BBAM US LP,

6                                 Plaintiffs,

7                       -against-                Case No. 3:20-cv-1056 (VLB)

8         BABCOCK & BROWN LLC, BURNHAM

9         STERLING & COMPANY LLC, BABCOCK

10        & BROWN SECURITIES LLC, BABCOCK

11        & BROWN INVESTMENT MANAGEMENT LLC,

12                                Defendants.

13

14        --------------------------------------x

15                                July 28, 2021

16                                10:13 a.m.

17

18           * CONFIDENTIAL - ATTORNEYS EYES ONLY *

19              CONTINUED VIRTUAL DEPOSITION of

20         MICHAEL DICKEY MORGAN, before Kristi Cruz, a

21         Stenographic Reporter and Notary Public of the

22         State of New York.

23

24

25

                                                               Page 339

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     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 120 of 138
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1                         MICHAEL MORGAN - CONF. AEO
2                         All right.        So this is a trademark
3        file history for the Babcock & Brown mark.
4                         Do you see that?
5                  A.     I do, yes, ma'am.
6                  Q.     And do you recognize this document?
7                  A.     I don't, ma'am, I'm sorry.
8                  Q.     Have you reviewed the trademark file
9        histories for your mark?
10                 A.     I'm not sure I understand that
11       question, ma'am.
12                 Q.     Yeah, these are printouts from the
13       trademark office of all the filings in connection
14       with your trademarks.
15                        And I'm just curious if you've ever
16       reviewed these types of documents before?
17                 A.     I have not, ma'am; no, ma'am.
18                 Q.     Okay.     I'm going to have you scroll
19       down to the page that ends in 150.
20                 A.     Yes, ma'am.
21                 Q.     Is it your understanding that this is
22       the specimen that was submitted to the trademark
23       office in connection with the Babcock & Brown
24       filing?
25                 A.     Yes, ma'am.

                                                               Page 607

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     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 121 of 138
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1                         MICHAEL MORGAN - CONF. AEO
2                 Q.      And this specimen was first provided
3        to clients on -- or customers on October 19, 2018;
4        is that right?
5                 A.      I believe so, yes, ma'am.
6                 Q.      And did it look like this particular
7        format, the document that was provided to
8        customers?
9                 A.      Please forgive me, but I don't recall
10       the exact format of the document.
11




20                Q.      Okay.     If you could, scroll up to the
21       document ending in 134.
22                        Do you recall that that specimen was
23       refused by the trademark office?
24                A.      I'm sorry, no, ma'am.
25                Q.      Okay.     Do you recall providing your

                                                               Page 608

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                                    866 299-5127
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 122 of 138
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1                         MICHAEL MORGAN - CONF. AEO
2        attorney an alternative specimen to use for the
3        trademark office?
4                 A.      I'm sorry, Ms. Rutowski, I don't
5        recall those particular events, no, ma'am.
6                 Q.      Do you recognize this document that's
7        on the page ending in 134?
8                 A.      This looks like the same document we
9        looked at before with a different format.
10                Q.      And the format of this document's
11       different, right?
12                A.      It does appear to be different, yes,
13       ma'am.
14                Q.      Okay.    And do you know if this is the
15       format that was sent to clients on October 18th --
16       sorry, on October 19, 2018?
17                A.      Ms. Rutowski, I'm sorry, but I
18       wouldn't be able to remember a particular format of
19       a document that was sent that long ago.
20                Q.      Okay.    Let's go ahead and look at the
21       next exhibit, 95.
22                        (Exhibit 95, trademark file history
23                for the B&B mark, marked for identification,
24                as of this date.)
25                Q.      This is the trademark file history for

                                                               Page 609

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                                    866 299-5127
     Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 123 of 138
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1                                 C E R T I F I C A T E
2        STATE OF NEW YORK                     )
3                                              ) SS.:
4        COUNTY OF SUFFOLK                     )
5
6                     I, KRISTI CRUZ, a Notary Public
7             within and for the State of New York, do
8             hereby certify:
9                      That the witness whose deposition
10            is hereinbefore set forth, was duly
11            sworn by me and that such deposition is
12            a true record of the testimony given by
13            such witness.
14                     I further certify that I am not
15            related to any of the parties to this
16            action by blood or marriage; and that I
17            am in no way interested in the outcome
18            of this matter.
19                     IN WITNESS WHEREOF, I have
20            hereunto set my hand this 9th day of
21            August 2021.
22
23
24                <%19939,Signature%>
25                       KRISTI CRUZ

                                                               Page 680

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                                    866 299-5127
Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 124 of 138




                        Exhibit E
  Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 125 of 138



                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


   BBAM AIRCRAFT MANAGEMENT LP, and
   BBAM US LP,

                       Plaintiffs,               Civil Action No.
                                                 3:20-cv-01056-VLB
                 vs.

   BABCOCK & BROWN LLC, BURNHAM
   STERLING & COMPANY LLC, BABCOCK
   & BROWN SECURITIES LLC, BABCOCK
   & BROWN INVESTMENT
   MANAGEMENT LLC,

                       Defendants.


 DEFENDANTS’ FIRST AMENDED AND THIRD SUPPLEMENTAL RESPONSES
         TO PLAINTIFFS’ FIRST SET OF INTERROGATORIES

       Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendants

Babcock & Brown LLC, Burnham Sterling & Company LLC, Babcock & Brown

Securities LLC, and Babcock & Brown Investment Management LLC (collectively,

“Defendants”) hereby amend and supplement their answers to certain of Plaintiffs’

First Set of Interrogatories as follows:

INTERROGATORY NO. 5:

For each Babcock & Brown Mark that you have used, state the date of and describe

the goods or services associated with your first use of the mark in Commerce in the

United States.

Original Response:

       All Defendants object to this Interrogatory to the extent that it is vague,

ambiguous, overbroad, and unduly burdensome. With respect to Defendant
  Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 126 of 138



Babcock & Brown LLC, the information requested in readily available to Plaintiffs in

the TSDR database of the United States Patent and Trademark Office.


First Supplemental Response:

       All Defendants first used in Commerce the marks BABCOCK & BROWN and

B & B at least as early as October 19, 2018 for the services identified in the federal

registrations for those marks.


Second Supplemental Response:

       By operation of law under 15 U.S.C. 1057(c), Defendant Babcock & Brown

LLC made constructive first use in commerce of the marks BABCOCK & BROWN

and B & B corresponding to the dates on which it filed the applications that matured

into its federal registrations for those marks. The relevant marks, services, and dates

are as follows:

              BABCOCK & BROWN
              Registration Number 5769928

              Services: Investment banking; financial consultation; financial analysis;
              capital investment and private equity fund management; and financial
              advisory services in the fields of asset-backed financings, project
              financings, leveraged leases, sale leasebacks, portfolios of leased or
              financed assets, secured debt, tax-advantaged financings; financial
              advisory services in the fields of financing equipment purchasing,
              financing equipment leasing, and financing equipment sales.

              Filing Date: March 6, 2015


              BABCOCK & BROWN
              Registration Number 5643846

              Services: Investment management

              Filing Date: January 13, 2016
                                           2
  Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 127 of 138



              B&B
              Registration Number 6037338

              Services: Investment banking; financial consultation; financial analysis;
              capital investment and private equity fund management; and financial
              advisory services in the fields of asset-backed financings, project
              financings, leveraged leases, sale leasebacks, portfolios of leased or
              financed assets, secured debt, tax-advantaged financings; financial
              advisory services in the fields of financing equipment purchasing,
              financing equipment leasing, and financing equipment sales.

              Filing Date: December 14, 2015


              B&B
              Registration Number 5851855

              Services: Investment management

              Filing Date: January 13, 2016


       No Defendant claims to have used in commerce any of the marks at issue

prior to the respective filing dates of the above-referenced registrations.

       Application Number 86874191 for the mark BURNHAM BABCOCK &

BROWN is pending. To date, no Defendant claims to have used in commerce the

mark BURNHAM BABCOCK & BROWN.

       Defendant Babcock & Brown Investment Management LLC uses the marks

BABCOCK & BROWN and B&B pursuant to a license agreement from Babcock &

Brown LLC entered into on October 6, 2016 and its use of the marks inures to the

benefit of Babcock & Brown LLC as the mark owner and licensor. Defendant

Babcock & Brown Investment Management LLC began using the licensed marks

BABCOCK & BROWN and B&B in commerce with respect to all of the listed

services on October 19, 2018.

                                           3
  Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 128 of 138



       Defendant Babcock & Brown Securities LLC uses the marks BABCOCK &

BROWN and B&B pursuant to a license agreement with Babcock & Brown LLC

entered into on January 6, 2020 and its use of the mark inures to the benefit of

Babcock & Brown LLC as the mark owner and licensor. Prior to changing its entity

name to Babcock & Brown Securities LLC on December 27, 2019, Defendant

Babcock & Brown Securities LLC was called Burnham Sterling Securities LLC.


First Amended and Third Supplemental Response:

       Defendants amend and clarify the statement made in their First

Supplemental Response and further supplement their answer as follows.

       Defendants operate in coordination with one another as a collective firm or

business under common ownership and control with shared employees, facilities,

and resources. Defendant Babcock & Brown LLC owns the four trademark

registrations and the pending application identified in the Second Supplemental

Response. Defendant Babcock & Brown LLC entered into a license agreement with

Defendant Babcock & Brown Investment Management LLC on or about October 6,

2016, for the marks BABCOCK & BROWN and B&B. Defendant Babcock & Brown

LLC entered into another license agreement with Defendant Babcock & Brown

Securities LLC on or about January 6, 2020, for the marks BABCOCK & BROWN

and B&B. Prior to December 27, 2019, Defendant Babcock & Brown Securities LLC

operated under the name Burnham Sterling Securities LLC.

       Defendant Babcock & Brown Investment Management LLC first used the

marks BABCOCK & BROWN and B&B in commerce on or about October 19, 2018,

in connection with all the services listed in the four trademark registrations. See All

                                           4
  Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 129 of 138



B & B – Burnham Defs_0000549-50.

      On or about July 20, 2020, Defendant Babcock & Brown Securities LLC

began rendering the following services in commerce under the marks BABCOCK &

BROWN and B&B: investment banking, financial consultation, financial analysis,

and financial advisory services.

      Separate from the aforementioned uses by its licensees, which inure to its

benefit, Defendant Babcock & Brown LLC started advertising the services listed in

the four trademark registrations under the marks BABCOCK & BROWN and B&B

on the website located at www.babcockandbrown.com on or about June 5, 2019,

and in communications to prospective clients sent from @babcockandbrown.com

email addresses starting on or about August 16, 2019 (see All B & B – Burnham

Defs_0008626).

      Defendant Burnham Sterling & Company LLC has commercially used

“BABCOCK & BROWN” to reference one or more of its affiliated entities – namely,

Defendants Babcock & Brown LLC, Babcock & Brown Investment Management

LLC, and Babcock & Brown Securities LLC – since about March 2018 (see All B &

B – Burnham Defs_0002232-55), and to reference non-party Babcock & Brown LP –

the now defunct entity that was affiliated with Babcock & Brown Holdings, the prior

employer of Defendants’ founders, Michael Dickey Morgan and John Morello –

since Defendant Burnham Sterling & Company LLC was founded in or about 2010.

      Defendants are presently not aware of any use in commerce of the mark

BURNHAM BABCOCK & BROWN.




                                        5
  Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 130 of 138



INTERROGATORY NO. 6:

Identify each Person that you have marketed or intend to market a good or service

to in connection with one or more of the Babcock & Brown Marks, including what

good or service was marketed, when, and which mark(s) were implicated.

Original Response:

       All Defendants object to this Interrogatory on the grounds that it is vague,

ambiguous, overbroad, and unduly burdensome. Defendants further object to this

Interrogatory on the grounds that it seeks discovery of trade secrets.

First Supplemental Response:

       Defendants Babcock & Brown LLC, Babcock & Brown Securities LLC. and

Babcock & Brown Investment Management LLC have marketed or intend to market

their services to the aerospace, rail, logistics, automotive, energy, utility, retail,

airline, waste management, telecom, mining, pipeline, luxury goods, technology,

steel/metals, food and agriculture, beverage, broadcasting/cable, chemical, and

financial services industries. Marketing materials have been made available on

http://www.babcockandbrown.com. Defendants have marketed directly to the

following entities: Enterprise Products, Ford Motor Company. General Dynamics,

HP, Lockheed Martin, Premier Inc., Regency Energy Partners, Stryker Corporation,

The Williams Company, UPS, and Waste Management. Defendants are searching

their records to determine such further information about particular marketing

activities as is reasonably available to them.




                                           6
  Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 131 of 138



Second Supplemental Response:

       Defendant Babcock & Brown Investment Management LLC initially marketed

all services identified in the registrations for the marks BABCOCK & BROWN and

B & B on October 19. 2018 and significantly increased its marketing activities in the

Fall of 2019, directing its marketing to the entities listed in Defendants' prior

response to Interrogatory No. 6, as well as to Fiserv, Inc. None of Defendants has

marketed services identified by the marks BABCOCK & BROWN or B & B to airlines

domiciled in the United States, notwithstanding the fact that Burnham Sterling &

Company LLC and Babcock & Brown Securities LLC (formerly known as Burnham

Sterling Securities LLC) have long had clients in the airline industry.


Third Supplemental Response:

       Defendants supplement their answer as follows.

       In addition to the entities identified in the First and Second Supplemental

Responses, above, Defendants further identify United Technologies, through its

division, Pratt & Whitney, as an entity to whom it has marketed services under the

BABCOCK & BROWN and B&B marks. Defendants have marketed all the services

listed in the four trademark registrations to each of the aforementioned target

entities. Defendants further refer to their business records that have been or will be

produced as including additional information responsive to this interrogatory

pursuant to Federal Rule of Civil Procedure 33(d), including the documents labeled

All B & B – Burnham Defs_0000549-50, 0008606-72.

       Finally, Defendants reiterate that they have not specifically marketed their

services under the BABCOCK & BROWN and B&B marks to each of their clients
                                           7
  Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 132 of 138



and prospective clients. The majority of Defendants’ marketing still occurs under the

BURNHAM STERLING & COMPANY name and mark as well as derivatives of the

same (e.g., BURNHAM STERLING).


Dated: May 13, 2021                            /s/ Heather Kliebenstein
                                               Heather J. Kliebenstein, Pro hac vice
                                                 Minnesota Bar No. 0337419
                                               Elisabeth S. Muirhead, Pro hac vice
                                                 Minnesota Bar No. 0399590
                                               MERCHANT & GOULD P.C.
                                               150 South Fifth Street, Suite 2200
                                               Minneapolis, Minnesota 55402
                                               Telephone: (612) 332-9081
                                               hkliebenstein@merchantgould.com

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                                                 Tennessee Bar No. 030549
                                               MERCHANT & GOULD P.C.
                                               800 S. Gay Street, Suite 2150
                                               Knoxville, Tennessee 37932
                                               Telephone: (865) 380-5960
                                               imcfarland@merchantgould.com

                                               Michael J. Rye (ct18354)
                                               CANTOR COLBURN LLP
                                               20 Church Street, 22nd Floor
                                               Hartford, CT 06103
                                               Tel: (860) 286-2929
                                               Fax: (860) 286-0115
                                                      mrye@cantorcolburn.com

                                               Attorneys for Defendants




                                          8
 Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 133 of 138




                                 CERTIFICATION

Michael Dickey Morgan declares the following to be true :

I am authorized to sign the foregoing Third Supplemental Responses to Plaintiffs'
First Set of Interrogatories on behalf of each of Defendants BABCOCK & BROWN
LLC, BURNHAM STERLING & COMPANY LLC, BABCOCK & BROWN
SECURITIES LLC, and BABCOCK & BROWN INVESTMENT MANAGEMENT LLC.
I have read the foregoing supplemental responses and I hereby certify that they are
true and correct to the best of my knowledge .

Executed at Cos Cob, Connecticut on the 13th day of May, 2021 .



                 7
Michael Dickey Morgan




                                          9
  Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 134 of 138



                          CERTIFICATION OF SERVICE

I hereby certify that on May 13, 2021, I caused a true and correct copy of the

foregoing document to be served via email on counsel of record for all parties.

                                                /s/ Ian McFarland




                                         10
Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 135 of 138




                        Exhibit F
        Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 136 of 138




August 13, 2021                                                                    Orrick, Herrington & Sutcliffe LLP
                                                                                   1000 Marsh Road
VIA EMAIL                                                                          Menlo Park, CA 94025-1015
                                                                                   +1 650 614 7400
                                                                                   orrick.com
Heather Kliebenstein
Merchant & Gould P.C.
150 South Fifth Street                                                             Diana M. Rutowski
Suite 2200
                                                                                   E drutowski@orrick.com
Minneapolis, MN 55402-2214                                                         D +1 650 614 7685
                                                                                   F +1 650 614 7401
Ian McFarland
Merchant & Gould P.C.
800 S. Gay Street
Suite 2150
Knoxville, TN 37929

Re:      BBAM US LP, et al. v. Burnham Sterling & Co., et al.— Motion to Amend Complaint

Dear Heather & Ian:

We write to ask whether Defendants will oppose BBAM US LP and BBAM Aircraft Management LP’s
(“BBAM”) motion for leave to file an amended complaint. BBAM seeks to amend its complaint to include,
as an additional ground to cancel Defendants’ trademark registrations, that according to Defendants’
testimony and discovery responses, they failed to use the marks in commerce prior to the applicable
deadlines to file statements of use and the registrations are thus void and subject to cancellation. We
outline the relevant law and facts below.

   I.    Service Marks Must Be Used to Render Services In Commerce Within The Period For Filing
         a Statement of Use.

“[F]ailure to use [a mark in commerce] within the period for filing a statement of use is a ground for
cancellation of a registration that is less than five years old.” MCCARTHY ON TRADEMARKS AND UNFAIR
COMPETITION § 20:54 (5th ed.). Marks are used in commerce in connection with services when they are
“used or displayed in the sale or advertising of services and the services are rendered in commerce.” 15
U.S.C. § 1127 (emphasis added). “[R]endering services requires actual provision of services.” Couture v.
Playdom, Inc., 778 F.3d 1379, 1382 (Fed. Cir. 2015) (emphasis added). “Without question, advertising or
publicizing a service that the applicant intends to perform in the future will not support registration.”
Aycock Eng’g, Inc. v. Airflite, Inc., 560 F.3d 1350, 1358 (Fed. Cir. 2009).

  II.    According to Defendants, Services Were Not Rendered In Commerce Under the BABCOCK
         & BROWN or B&B Marks Within The Applicable Time Periods for Filing Statements of Use.

Based on Mr. Morgan’s testimony and Defendants’ discovery responses and document productions to
date, it is evident that neither the Applicant nor any of the Defendants met the required deadlines for


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      Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 137 of 138




Heather Kliebenstein
Ian McFarland
August 13, 2021
Page 2


rendering services under the BABCOCK & BROWN or B&B marks in commerce.

First, Mr. Morgan testified at his deposition

    Because Defendants have never used the BABCOCK & BROWN or B&B marks in commerce to
provide investment management services, Trademark Reg. Nos. 5,643,846 and 5,851,855 are void and
subject to cancellation.

Second, Defendants also failed to use either the BABCOCK & BROWN or B&B marks to render services
in commerce prior to the relevant deadlines to file statements of use for each of its trademark
applications. For Trademark Reg. No. 5,769,928 (BABCOCK & BROWN), the U.S. Patent and
Trademark Office issued a notice of allowance on October 20, 2015 and for Reg. Nos. 5,643,846
(BABCOCK & BROWN), 6,037,338 (B&B), and 5,851,855 (B & B), the USPTO issued notices of
allowance on July 5, 2016. Applicant was then required to file statements of use verifying that each mark
was in use in commerce in order to obtain trademark registrations. See 15 U.S.C. § 1051(d)(1). For
Trademark Reg. Nos. 5,769,928, 6,037,338, and 5,851,855, Applicant filed the maximum number of
extensions of time, which were granted, and had until October 20, 2018, July 5, 2019, and July 5, 2019,
respectively, to put the marks into use and to file statements of use under the statute. See 15 U.S.C. §
1051(d)(1)-(2). For Trademark Reg. No. 5,643,846, Applicant filed its second-to-last extension of time on
July 3, 2018 which gave it until January 5, 2019 to put the mark into use and file its statement of use.
See id. That means that, depending on the application, Defendants were required to use the BABCOCK
& BROWN or B&B marks to provide the services listed in the applications by October 20, 2018, January
5, 2019, or July 5, 2019, at the very latest, to obtain trademark registrations.

The recent deposition testimony of Michael Dickey Morgan confirmed that that the Applicant did not do
so, nor did any of its related entities or licensees.

                                        Burnham Sterling & Company LLC has never rendered services in
commerce under the BABCOCK & BROWN or B&B marks, according to Defendants’ consistent position
throughout this litigation, and instead provides services in commerce under the BURNHAM STERLING
mark. See, e.g., Defendants’ Responses to Interrogatory Nos. 5, 10-11, 13. Babcock & Brown Securities
LLC did not even change its name to add “Babcock & Brown” until December 27, 2019 and only “began
rendering … services in commerce under the marks BABCOCK & BROWN and B&B” on July 20, 2020.
See Defendants’ Responses to Interrogatory No. 5. Because Defendants contend that Burnham Sterling
does not use the marks-in-suit, and the other Defendants did not use the BABCOCK & BROWN or B&B
marks in commerce until July 20, 2020—over a year too late—each of its registrations for those marks is
subject to cancellation.

                                                *   *     *
      Case 3:20-cv-01056-OAW Document 82-2 Filed 09/02/21 Page 138 of 138




Heather Kliebenstein
Ian McFarland
August 13, 2021
Page 3


Leave to amend a complaint is typically “freely given.” See Fed. R. Civ. P. 15(a)(2); In re Horizon Cruises
Litig., 101 F. Supp. 2d 204, 215 (S.D.N.Y. 2000). Accordingly, we expect that Defendants will stipulate to
this amendment, which conforms to the recently discovered evidence and in no way prejudices
Defendants in light of the fact that the relevant facts regarding use are solely in Defendants’ possession.

Please let us know if Defendants intend to oppose BBAM’s motion for leave to amend by Friday, August
20, 2021.

Very truly yours,

/s/ Diana M. Rutowski.

Diana M. Rutowski
